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                     UNITED STATES DISTRICT COURT
                       DISTRICT OF MASSACHUSETTS

___________________________________
                                   )
CONNIE SELLERS AND SEAN COOPER,    )
individually and as the            )
representatives of a class of      )
similarly situated persons, and    )
on behalf of the Boston College    )
401(K) Retirement Plan I and       )
the Boston college 401(K)          )
Retirement Plan II,                )
                                   )
                    Plaintiffs,    )
                                   )
          v.                       )                CIVIL ACTION
                                   )                NO. 22-10912-WGY
TRUSTEES OF BOSTON COLLEGE,        )
PLAN INVESTMENT COMMITTEE,         )
JOHN AND JANE DOES 1-10,           )
                                   )
                    Defendants.    )
___________________________________)


YOUNG, D.J.                                         April 11, 2024

                         MEMORANDUM OF DECISION


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I.    INTRODUCTION

      Plaintiffs (“Participants”), former or current participants

in Boston College’s 401(k) Retirement Plans, bring a class

action against the Trustees of Boston College (“Trustees”) and

the Plan Investment Committee (the “Committee”) (together

“Boston College”), for failure to: (1) prudently administer the

Retirement Plans (the “Plans”) with respect to the Plans’

recordkeeping fees (“Recordkeeping Fees”) and certain

investments (“challenged investments”); (2)comply with the

Plans’ investment policy statement (“Investment Policy

Statement” or “IPS”); and (3) monitor fiduciaries and service

providers to the Plans.      Compl., ECF No. 1.     The Participants

bring suit under Sections 409 and 502 of the Employee Retirement

Income Security Act of 1974 (“ERISA”), 29 U.S.C. §§ 1109, 1132.

Id.

      Boston College moves for summary judgment, Defs.’ Mot.

Summ. J., ECF No. 58, arguing that Boston College “followed a

robust fiduciary process to monitor [its] two 401(k) plans

consistent with industry standards,” and that the Participants

cannot demonstrate a genuine dispute of material fact on breach

or loss.    Defs.’ Mem. Law Supp. Defs.’ Mot. Summ. J. (“Mem.”) 1,

14-17, ECF No. 59.     Boston College further argues that, even if

the Participants do show a genuine dispute of material fact on

breach or loss, Boston College shows, as matter of law, that the

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Plans’ fees and the challenged investments were objectively

prudent.    Id. at 1, 17, 19.

  A. Procedural History

      On June 10, 2022, Plaintiffs Connie Sellers (“Sellers”) and

Sean Cooper (“Cooper”), individually and as the representatives

of a class of similarly situated persons, and on behalf of the

two Boston College 401(k) retirement plans, filed a putative

class action complaint (“Complaint”) against Boston College and

its trustees (the “Trustees”).       Compl. ¶¶ 16-18.     The Complaint

alleges one count against all Defendants (Count One: Breach of

Fiduciary Duty of Prudence and Fiduciary Duty to Comply with

Plan Documents) and one count against only the trustees of the

retirement plans for failing to monitor the Committee and the

ten John and Jane Does (Count Two: Failure to Monitor

Fiduciaries).    Id. ¶¶ 116-35.

      On August 15, 2022, Boston College moved to dismiss

Participants’ Complaint, see Defs.’ Mot. Dismiss Compl., ECF No.

12, which this Court denied on November 10, 2022.          See Elec.

Clerk Notes, ECF No. 26; see also Mem. Decision, ECF No. 32.

This Court certified the class on May 19, 2023.          Order, ECF No.

46.   On September 29, 2023, Boston College moved for summary

judgment on all of Participants’ claims.1        Defs.’ Mot. Summ. J..


      1Boston College indicates that the Participants alleged a
claim related to investment fees in the Complaint but have
                                       [4]
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The parties fully briefed the issues before oral argument.

Mem.; Defs.’ Statement Facts (“SOF”), ECF No. 60; Pls.’ Opp’n

Defs.’ Mot. Summ. J. (“Opp’n”), ECF No. 69; Pls.’ Counter

Statement of Material Facts (“CSOF”), ECF No. 70; Defs.’ Reply

Support Defs.’ Mot. Summ. J. (“Reply”), ECF No. 75; Defs.’ Reply

Statement Facts Support Defs.’ Mot. Summ. J. (“RSOF”), ECF No.

76.

      This Court heard oral argument on Boston College’s motion

for summary judgment on November 14, 2023, and took this motion

under advisement.     Elec. Clerk Notes, ECF No. 91.       After the

hearing, the parties submitted supplemental briefing regarding

additional authorities and on the issue of loss and objective

prudence.    Notice Suppl. Authority Supp. Defs.’ Mot. Summ. J.,

Mot. Exclude Opinions Pls.’ Expert Minnich, and Mot. In Limine

Preclude Evidence and Argument Re Damages (“Supp. Authority”),

ECF No. 90; Pls.’ Supp. Filing Re Prima Facie Loss Further Opp’n

Defs.’ Mot. Summ. J. (“Supp. Loss”), ECF No. 95; Defs.’ Mem.

Further Supp. Defs.’ Mot. Summ. J., ECF No. 98 (“Supp. Opp’n




abandoned this claim. Mem. 12 n.13; Reply 2 n.2. The
Participants do not mention investment fees in their opposition.
See generally Opp’n. Thus, this Court assumes that the
Participants are no longer pursuing the investments fees’ claim.
Similarly, the parties agree that the Participants do not bring
any claims against investments in Plan II, only Plan I. Mem. 8
n.9; Reply 2 n.2; Opp’n 17 n.15.
                                       [5]
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Loss”); Pls.’ Response Defs.’ Unopposed Mot. Leave File Response

Pls.’ Supp. Filing Re Loss (“Supp. Response Loss”), ECF No. 99.

  B. Undisputed Facts

             1.   The Parties

      Boston College offers retirement plans to its full-

time employees.     CSOF ¶ 1.   Among those plans are Boston

College 401(k) Retirement Plan I (“Plan I”) and Boston

College 401(k) Retirement Plan II (“Plan II”), id. ¶ 2,

which are defined contribution plans, sponsored and

administered by Boston College.       Id. ¶¶ 3, 5.    Employees

eligible for these Plans can participate in both plans, can

allocate contributions, and may transfer portions between

the Plans.    Id. ¶ 7.   Sellers is a former employee of

Boston College and has been a participant of both Plans for

the duration of the class period, id. ¶ 9, which extends

from June 10, 2016, to present (the “Class Period”).          Id.

at 9 n.2.    Cooper is also a former employee of Boston

College and a participant of Plan I.         Id. ¶ 10.

             2.   The Plans

      From 2015 to 2021, Plan I had 3,538 to 3,697

participants and approximately $447,000,000 to $731,000,000

in assets, and Plan II had 2,760 to 3,221 participants and

assets between $239,000,000 and $516,000,000.         Id. ¶¶ 13,

34.   Plan I offers various investment options, such as

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international and domestic equity funds, annuity products

(real estate account and target-date funds), bond funds,

and money market funds.    Id. ¶ 14.    Its investment options

include fixed annuities (TIAA Traditional), as well as

variable annuity products, including –- and at issue here -

- the CREF Stock Account and TIAA Real Estate Account (the

“challenged investments”).    Id. ¶ 15.

            3.   The Committee & Fiducient

     In 2005, Boston College established the Committee as

an ERISA fiduciary of the Plans.     Id. ¶ 43.    The Committee

is responsible for overseeing the control and management of

the Plans’ assets, which includes deciding what investment

options to offer, monitoring performance of the Plans’

investments, establishing benchmarks to assess the

investments’ performance, and monitoring the Plans’ fees.

Id. ¶ 44.

     The Committee makeup during the Class Period is as

follows: John Zona (Chief Investment Officer) (“Zona”),

David Martens (Director of Investments) (“Martens”), John

Burke (Benefits Director) (“Jack Burke”), Jeffrey Pontiff

(Chair in Finance) (“Pontiff”), David Trainor (Vice

President of Human Resources) (“Trainor”), and John Burke




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(Financial Vice President & Treasurer) (“John Burke”).          Id.

¶¶ 45-54.

     The Committee retained Fiducient, an independent

financial consultant, “to assist in its deliberative

process.”   Id. ¶ 57.   Fiducient acted as co-fiduciary and

investment advisor of the Plans during the Class Period.

Id. ¶ 58.   Vincent Smith (“Smith”), Partner and Senior

Consultant of Fiducient, worked with the Committee and

attended every Committee meeting.     Id. ¶ 59.    Fiducient

also prepared quarterly investment reviews (“QIRs”) on the

Plans’ investments, which “discussed several qualitative

and quantitative factors.”     Id. ¶¶ 61, 63.    The Committee

received these QIRs before each Committee meeting.        Id.

  The Committee met three to four times per year to review

and discuss the Plans’ fees and investments.       Id. ¶¶ 71,

75-77.   The Committee reported annually to the Board of

Trustees.   Id. ¶ 79.

            4.    Investment Policy Statement

     The Committee has an Investment Policy Statement to

help guide its monitoring and managing of the Plans’

investments.     Id. ¶ 67.   The IPS guides the Committee to

consider several factors when evaluating and choosing

investments.     Id. ¶ 68 (listing factors).    The IPS allows


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investment options to be decided “at the sole discretion of

the Committee,” that “the Committee may . . . establish a

probationary period” to assess and correct any investment

concerns, and the Committee must document investment

changes.    Id. ¶ 69.

             5.   Recordkeeping Fees

        “[R]etirement plans . . . pay fees for recordkeeping

services.    Recordkeepers help plans track the balances of

individual accounts, provide regular account statements,

and offer informational and accessibility services to

participants.”    Hughes v. Nw. Univ., 595 U.S. 170, 174

(2022).    Plan I’s recordkeeper is Teachers Insurance and

Annuity Association (“TIAA”).     CSOF ¶¶ 3, 24.      TIAA has

been the recordkeeper for Plan I (or its predecessor) since

1947.    Id. ¶¶ 3, 11.   TIAA also provided recordkeeper

services for three of Boston College’s other, non-ERISA

retirement plans.    Id. ¶ 25.   Between 2016 and 2019, TIAA’s

contracts with Boston College listed the “per unique

participant” price, which reflected the services and fees

for all four Plans, not just Plan I.         Id.   Plan II’s

recordkeeper is Fidelity Investments Institutional

Operations Company, Inc. (“Fidelity”).        Id. ¶¶ 4, 36.




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     For Plan I’s annuities (or “TIAA annuities”), Boston

College cannot transfer (“map”) annuity assets to other

investments without the direction of the plan participant.

Id. ¶ 20.    Thus, if a participant’s assets are held in an

individually controlled annuity contract, Boston College

can “freeze” these assets, preventing future contributions,

but cannot transfer the assets to another investment.         Id.

¶¶ 20, 23.   Frozen annuities still, however, require

recordkeeping management and oversight until the annuities’

assets are distributed or transferred, by the participant,

to another recordkeeping platform.      Id. ¶¶ 23, 211.     Unlike

annuities, the Committee can both transfer mutual funds

(like those offered in Plan II by Fidelity) from a

discontinued recordkeeper’s platform and direct future

contributions to a new recordkeeper’s platform.        Id. ¶ 22.

The Committee cannot do this for investments held in TIAA

annuities.   Id.

                   a.   Benchmarking and Negotiation of
                        Recordkeeping Fees
     The Committee reviewed and discussed fee analyses

prepared by Fiducient on at least an annual basis, and

these analyses “quantified total Plan I and II costs,

identified plan average account balances, [ ] benchmarked

total Plan I and II costs and recordkeeping fees, [and]


                                     [10]
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illustrated alternative fee arrangements.”       Id. ¶¶ 82, 91.

The Committee met with TIAA and Fidelity at times during

the Class Period to discuss fees.      Id. ¶ 98.

                 b.   2018 RFP
     Fiducient assisted the Committee with its 2018 Request

for Proposal (“RFP”), a competitive bidding process used so

that the Committee could explore its recordkeeping options.

Id. ¶ 66.   The Committee reviewed proposals from TIAA,

Fidelity, Empower, Vanguard, and Transamerica, each

“describing their services and fees for the existing two-

plan, one vendor structure as well as [proposing] a

possible one-plan, one-vendor structure.”       Id. ¶ 103.

Boston College had the option to retain its two incumbent

recordkeepers (TIAA and Fidelity), keep one recordkeeper

and replace the other, replace both, or consolidate into a

single recordkeeper (whether that be TIAA, Fidelity, or

another recordkeeper).    Ex. 71 (Request for Proposal

Analysis, November 12, 2018, BC-SELLERS001089, at 1092),

ECF No. 63-27.   TIAA and Fidelity’s recordkeeping proposals

provided certain non-core services that other proposals

required additional fees for, waived contract termination

fees, and provided a fee guarantee for five years.        CSOF ¶¶

105-06.   The lowest bid submitted during the 2018 RFP was




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$31 for a single recordkeeping arrangement under Fidelity

(incumbent) or Empower.    Ex. 71 at 1098-1101.

     The Committee ultimately kept both TIAA and Fidelity

as its recordkeepers and did not consolidate to a single

recordkeeper for both Plans.     CSOF ¶¶ 21-22, 109.     The

Committee considered several factors in deciding which

recordkeeper(s) to retain, as reflected by the RFP’s

corresponding meeting minutes.     RSOF ¶ 224.    The Committee

also considered factors such as participant choice and

disruption to participants.     CSOF ¶ 107.

             6.   Challenged Investments

     The Committee reviewed the Plans’ investments at each

meeting and discussed performance data (QIRs) provided by

Fiducient.    Id. ¶¶ 119-21.   Fiducient assigned each investment

one of the following status ratings: “Maintain,” “Watch,”

“Discuss,” or “Terminate.”     Id. ¶¶ 122-23.    During the Class

Period, some of the Plans’ investments were placed on the

“Watch” list, id. ¶ 126, and, at times, the Committee made

changes to its investment lineups.      Id. ¶¶ 127-34.

     The CREF Stock Account is “an actively-managed variable

annuity that seeks favorable long-term returns through capital

appreciation and investment income.”        Id. ¶ 135.   The TIAA Real

Estate Account is “a tax-deferred variable annuity account that



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seeks to generate favorable returns primarily through rental

income and the appreciation of a diversified portfolio of

directly held, private real estate-related investments” by

“purchasing direct ownership interest in income-producing

properties,” including residential, official, industrial, and

foreign properties (“Real Estate Account”).          Id. ¶¶ 138-39.        The

Committee reviewed and discussed QIRs on the challenged

investments’ performances throughout the Class Period.            Id. ¶

149.

                           a. CREF Stock Account
       In March 2016, the Committee discussed assigning peer group

rankings and benchmarks to the CREF Stock Account.           Id. ¶ 151.

Fiducient added an additional peer group to compare the CREF

Stock Account’s performance, noting that the CREF Stock

Account’s equity composition (containing a mix of both foreign

and domestic equities) made it difficult to “select[] [an]

appropriate peer universe for comparison.”          Id.

       In December 2020, as per Fiducient’s advice, the Committee

put the CREF Stock Account on “Watch.”          Id. ¶ 157.   Fiducient’s

QIRs cited two reasons for this designation: (1) the departure

of a portfolio manager; and (2) “sustained underperformance.”

RSOF ¶ 215.      It remained on “Watch” until September 2021.         CSOF

¶ 158.     Since then, Fiducient has designated its status as

“Maintain.”      Id. ¶ 159.   In a 2019 email, Fiducient’s Smith


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indicated that the Committee did “consider[] freezing

contributions to [CREF annuities] and re-directing low-cost

index funds,” but the Committee ultimately decided not to do so.

Id. ¶ 160.

                  b.   TIAA Real Estate Account
        The Committee regularly received and discussed reporting on

the TIAA Real Estate Account’s performance.       Id. ¶ 162.    In

early 2018, QIRs on TIAA benchmarked the Real Estate Account’s

performance with the NCREIF ODCE Index on both an absolute and

adjusted basis.    Id. ¶ 163.   The “adjusted” performance

accounted for the Real Estate Account’s liquidity restriction:

as part of its investment strategy, it maintained 15-25% “of its

net assets in publicly traded liquid investments” to “meet

participant redemption requests and purchase and improve

properties.”    Id. ¶ 142.   Before September 2022, Fiducient

consistently designated the Real Estate Account with a

“Maintain” status.     Id. ¶ 168.   In September 2022, the Real

Estate Account’s status was changed to “Discuss” following the

departure of the lead portfolio manager.       Id. ¶ 169.    The

designation changed back to “Maintain” by the fourth quarter of

2022.    Id. ¶ 170.




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II.   ANALYSIS

      A.     ERISA – Duty of Prudence

             1.   History of ERISA

      Congress enacted ERISA in 1974.         Pub.L. No. 93–406, 88

Stat. 829, codified as amended at 29 U.S.C. §§ 1001–1461; see

Merrimon v. Unum Life Ins. Co. of Am., 758 F.3d 46, 50 (1st Cir.

2014).     ERISA is a “comprehensive and reticulated statute,”

governing private employee benefit systems, including retirement

plans.     Tracey v. Massachusetts Inst. of Tech., No. CV 16-11620-

NMG, 2017 WL 4453541, at *8 (D. Mass. Aug. 31, 2017) (Bowler,

M.J.) (quoting Mertens v. Hewitt Assocs., 508 U.S. 248, 251

(1993)), report and recommendation adopted in part, rejected in

part, 2017 WL 4478239 (D. Mass. Oct. 4, 2017) (Gorton, J.).               One

of ERISA's principal goals is to afford appropriate protection

to employees and their beneficiaries with respect to the

administration of employee welfare benefit plans.          Merrimon, 758

F.3d at 50 (citing Nachman Corp. v. Pension Benefit Guar. Corp.,

446 U.S. 359, 361–62 (1980)).

             2.   ERISA’S Duty of Prudence

      Section 404(a) of ERISA requires a fiduciary to “discharge

[its] duties with respect to a plan solely in the interest of

the participants and beneficiaries and . . . for the exclusive

purpose of . . . providing benefits to participants and their

beneficiaries.”     29 U.S.C. § 1104(a)(1).      An ERISA fiduciary is


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also obligated to follow the terms of the plan, so long as they

do not conflict with the statute.      Id. § 1104(a)(1)(D).     The

obligations imposed by ERISA, including the duties of loyalty

and prudence, are among “the highest known to the law.”

Moitoso v. FMR LLC, 451 F. Supp. 3d 189, 204 (D. Mass.

2020) (quoting Braden v. Wal–Mart Stores, Inc., 588 F.3d 585,

598 (8th Cir. 2009) (quoting Donovan v. Bierwirth, 680 F.2d 263,

272 n.8 (2d Cir. 1982))).

     To prevail on a claim under this provision, plaintiffs must

show: (1) that defendants acted as the Plans’ fiduciary; (2)

that defendants breached their fiduciary duties; and (3) that

the breach caused a loss to the Plan.       Tracey, 2017 WL 4453541,

at *9 (citing Pegram v. Herdrich, 530 U.S. 211, 225-26 (2000);

and Braden, 588 F.3d at 594).     Once plaintiffs show breach and

loss, the burden of persuasion shifts to defendants to disprove

loss causation by showing that the decision regarding the

investments or fees was objectively prudent.        Brotherston v.

Putnam Invs., LLC, 907 F.3d 17, 33, 39 (1st Cir. 2018).

     The parties do not dispute that Boston College is a

fiduciary and that the Plans qualify as ERISA plans.         See Compl.

¶¶ 23, 117.   The parties do, however, dispute whether Boston

College breached its fiduciary duties, whether the alleged

breach caused a loss to Participants, and whether the



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Committee’s decisions with respect to the fees or investments

were objectively prudent.

     The duty of prudence requires that a fiduciary act “with

the care, skill, prudence, and diligence under the circumstances

then prevailing that a [fiduciary] acting in a like capacity and

familiar with such matters would use in the conduct of an

enterprise of a like character and with like aims.”         29 U.S.C. §

1104(a)(1)(B); see also 29 C.F.R. § 2550.404a-1 (“[T]he

requirements of section 404(a)(1)(B) . . . are satisfied if the

fiduciary: (i) Has given appropriate consideration to those

facts and circumstances that, given the scope of such

fiduciary's investment duties, the fiduciary knows or should

know are relevant to the particular investment or investment

course of action involved . . . .”).        A fiduciary who breaches

the duty of prudence must “make good” to the plan of “any losses

to the plan resulting from . . . such breach . . . .”         29 U.S.C.

§ 1109(a).

     When examining an alleged breach of the duty of prudence,

the key question is “whether the fiduciary took into account all

relevant information” in performing its duties under ERISA.

Turner v. Schneider Elec. Holdings, Inc., 530 F. Supp. 3d 127,

133 (D. Mass. 2021) (Gorton, J.) (citing Moitoso, 451 F. Supp.

3d at 204 (internal citations and quotation marks omitted)).

“Importantly, the Supreme Court has explained that the content

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of the duty of prudence turns on the circumstances . . . .

prevailing at the time the fiduciary acts.”       Barchock v. CVS

Health Corp., 886 F.3d 43, 44 (1st Cir. 2018) (internal

quotation marks omitted) (quoting Fifth Third Bancorp v.

Dudenhoeffer, 573 U.S. 409(2014)); see also Estate of

Smith v. Raytheon Co., 573 F. Supp. 3d 487, 510 (D. Mass.

2021) (Woodlock, J.).

     Therefore, to determine whether a fiduciary acted

prudently, a court will evaluate conduct under the

“totality of the circumstances” and assess a fiduciary's

procedures, methodology and thoroughness, Tracey v.

Massachusetts Inst. of Tech., 404 F. Supp. 3d 356, 361 (D.

Mass. 2019) (Gorton, J.), not the results of the

investment’s performance.     Barchock, 886 F.3d at 44 (citing

Bunch v. W.R. Grace & Co., 555 F.3d 1, 7 (1st Cir. 2009)

(“[T]he test of prudence — the Prudent Man Rule — is one of

conduct, and not a test of the result of performance of the

investment.”) (emphasis omitted) (quoting Donovan v.

Cunningham, 716 F.2d 1455, 1467 (5th Cir. 1983))).

     B.   Pleading Standard

     Summary judgment is required when “there is no genuine

dispute as to any material fact and the movant is entitled to

judgment as a matter of law.”     Fed. R. Civ. P. 56(a).      An issue

of material fact is genuine “if the evidence is such that a

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reasonable jury could return a verdict for the nonmoving party.”

Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248 (1986).

Materiality depends on the substantive law, and only factual

disputes that might affect the outcome of the suit can preclude

summary judgment.   Id.   In reviewing the evidence, this Court

must “draw all reasonable inferences in favor of the nonmoving

party, and it may not make credibility determinations or weigh

the evidence.”   Reeves v. Sanderson Plumbing Prods., Inc., 530

U.S. 133, 150 (2000).     This Court must also “disregard all

evidence favorable to the moving party that the jury is not

required to believe.”     Id. at 151.

     The moving party bears the initial burden of

demonstrating that “the nonmoving party has failed to make

a sufficient showing on an essential element of her case

with respect to which she has the burden of proof.”

Celotex Corp. v. Catrett, 477 U.S. 317, 323 (1986).         If the

movant does so, then the nonmovant must set forth specific

facts sufficient to establish a genuine issue for trial.

Matsushita Elec. Indus. Co. v. Zenith Radio Corp., 475 U.S.

574, 586–87 (1986).

     When the moving party also bears the burden at trial,2 its

burden of proof includes “producing incontrovertible prima facie


     2 Boston College has the burden of disproving loss causation
if Participants meet their burden on breach and loss.
                                     [19]
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evidence of its claims.”     Atlantic Specialty Ins. Co. v. Karl's

Boat Shop, Inc., 480 F. Supp. 3d 322, 329 (D. Mass. 2020)

(citing Celotex Corp., 477 U.S. at 331).       If the movant does so,

then the nonmovant must set forth specific facts sufficient to

establish a genuine issue for trial.        Matsushita Elec. Indus.

Co., 475 U.S. at 586–87.

     As stated in Brotherston, in enacting ERISA, Congress

intended to offer enhanced protections for employees.

Brotherston, 907 F.3d at 37.     This congressional intent, coupled

with the fact that duty-of-prudence inquiries involve

reasonableness determinations, which are more appropriately

decided at trial,3 is telling: it is difficult for a fiduciary to

show that as matter of law it did not violate its duty-of-

prudence.




Brotherston, 907 F.3d at 39 (“[O]nce an ERISA plaintiff has
shown a breach of fiduciary duty and loss to the plan, the
burden shifts to the fiduciary to prove that such loss was not
caused by its breach, that is, to prove that the resulting
investment decision was objectively prudent.”).
     3 See Board of Trustees of S. Cal. IBEW-NECA Defined

Contribution Plan v. Bank of New York Mellon Corp., No. 09 CIV.
6273 RMB, 2011 WL 6130831 at *3 (S.D.N.Y. Dec. 9, 2011) (“Rarely
will [application of ERISA’s reasonableness standard] be
appropriate on a motion for summary judgment.”); see also Harley
v. Minnesota Mining & Mfg. Co., 42 F. Supp. 2d 898, 907 (D.
Minn. 1999), aff'd sub nom. Harley v. Minnesota Min. & Mfg. Co.,
284 F.3d 901 (8th Cir. 2002) (“Typically, whether a fiduciary
acted prudently—or in other words, as a reasonably prudent
fiduciary—is a question of fact.”).
                                     [20]
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     C.   Boston College Fails to Show as Matter of Law that the
          Committee Did Not Breach its Fiduciary Duties with
          Respect to the Recordkeeping Fees Claim.

     This Court does not assess whether the Committee breached

its fiduciary duties from 2016 until the 2018 RFP,4 because, as

discussed infra Section II.F.2, Participants fail to set forth

any admissible evidence as to loss before the 2018 RFP.

     Relative to the time period after the 2018 RFP (2019 to

present), this Court rules that there are genuine disputes of

material fact as to (1) whether it was prudent for the Committee

to not consolidate the Plans to a single recordkeeper; (2)

whether the Committee was aware of the distinction between the

unique participant fee and the per participant fee; and (3)

whether some Committee members had conflicts of interest that

warranted recusal during the 2018 RFP vote.

          1.    Overall Principles Related to Monitoring
                Recordkeeping Fees

     The duty of prudence requires fiduciaries to “employ

appropriate methods to investigate the merits of the

investment,” Turner, 530 F. Supp. 3d at 133, which includes “a

continuing duty to monitor investments and remove imprudent

ones,” id. (citing Tibble v. Edison Int'l, 575 U.S. 523 (2015));




     4 Specifically, the Court does not address whether the
Committee breached its fiduciary duties by not conducting an RFP
earlier in the Class Period, nor whether the Committee was aware
of the Plans’ fees before the 2018 RFP.
                                     [21]
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see Beddall v. State St. Bank & Tr. Co., 137 F.3d 12, 18 (1st

Cir. 1998).       Fiduciaries have a duty to ensure that the plan’s

recordkeeping fees are not “excessive relative to the services

rendered.”    Young v. General Motors Inv. Mgmt. Corp., 325 F.

App'x 31, 33 (2d Cir. 2009) (internal quotation marks omitted);

see also Sacerdote v. New York Univ., 328 F. Supp. 3d 273, 286

(S.D.N.Y. 2018).

     Below, the Court assesses whether there exists a genuine

dispute of material fact as to: (1) whether the Committee

conducted negotiations with the recordkeepers to drive down

fees; (2) whether the Committee reviewed benchmarking conducted

by Fiducient and the adequacy of that benchmarking; (3) whether

the Committee conducted sufficient RFPs; (4) whether the

Committee prudently decided to not consolidate the Plans during

the 2018 RFP; (5) whether the Committee was aware of TIAA’s fees

and what TIAA’s fees actually were; and (6) whether it was

imprudent for certain Committee members to not recuse themselves

from the 2018 RFP due to potential conflicts of interest.

             2.     Negotiations and Benchmarking

     This Court rules that there is no genuine dispute of

material fact as to whether the Committee monitored the Plans’

fees through regular review of benchmarking and negotiations.




                                      [22]
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                        a. Negotiations
     There is no genuine dispute as to whether the Committee

engaged in negotiations throughout the Class Period to lower

recordkeeper fees.

     Boston College provides evidence that the Committee engaged

in negotiations to lower recordkeeper fees.       SOF ¶ 92; Ex. 5

(Trainor Tr.) 188:16-189:3, 191:11-192:8, ECF No. 62-5 (stating

that the Committee has “stringently and effectively [made] cases

to [their recordkeepers] that the fees that they were charging

were not appropriate and they needed to be driven down”).          The

Participants attempt to rebut this with testimony from Smith

indicating that he could not recall the most recent fee

negotiation but that the Committee does “go through an annual

exercise” (at least for TIAA) to negotiate fees.        Ex. H (Smith

Tr.) 278:16-279:2, ECF No. 71-8; CSOF ¶ 92.       Despite Smith’s

inability to recall the most recent negotiation, he confirms

that fee negotiations are conducted annually.        Thus, the

Participants fail to show a factual dispute as to whether the

Committee negotiated with recordkeepers.

     Relatedly, this Court rules that, while there is a factual

dispute as to whether the Committee’s negotiations caused fee

decreases,5 this dispute is not material -- holding otherwise


     5 Boston College submits deposition testimony showing that
the Committee successfully negotiated to reduce fees. Mem. 1,
6; Ex. 5 (Trainor Tr.) 188:16-189:3, 191:11-192:8. Participants
                                     [23]
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would improperly focus on the results of the fiduciary’s conduct

(success of the negotiations), instead of the fiduciary’s

conduct itself (act of engaging in negotiations).        See Barchock,

886 F.3d at 44.   Thus, whether the negotiations successfully

caused the fee decrease would have no bearing on whether the

Committee acted imprudently.6

                        b. Benchmarking
     This Court rules that the Participants do not genuinely

dispute that the Committee monitored the Plans’ fees through

Fiducient’s regular benchmarking, which showed that the fees

were comparable to its benchmarks.

     Fiducient prepared benchmarking of fees and Committee

members discussed these reports at meetings at least annually.

CSOF ¶¶ 82, 91.   The Participants attempt to dispute whether the

Committee reviewed and discussed these reports by showing that

some Committee members did not know what plans were included in

Fiducient’s benchmarking.     Id. ¶ 41; Ex. A (Jack Burke Tr.)


cite evidence showing that the fee decrease actually could have
been from fee compression in the industry or TIAA voluntarily
reducing its fees. Opp’n 6-7; CSOF ¶ 66; Ex. H (Smith Tr.)
281:9-12; Ex. J (10.10.2018 TIAA Response RFP) at 1, ECF No. 71-
10.
     6 While the court in Garthwait, in denying summary judgment,

noted that the “parties dispute and the record is mixed as to
whether the defendants’ actions brought about this decrease [in
fees,]” that court also identified as a contested fact whether
defendants actually engaged in negotiations, see Garthwait v.
Eversource Energy Co., No. 3:20-CV-00902 (JCH), 2022 WL 3019633,
at *5, 18 (D. Conn. July 29, 2022), which is not genuinely
disputed in the present case.
                                     [24]
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123:3-13, ECF No. 71-1; Ex. B (John Burke Tr.) 97:23-98:4, ECF

No. 71-2; Ex. F (Pontiff Tr.) 174:4-7, ECF No. 71-6.         This is

insufficient to cast doubt on whether the Committee reviewed the

benchmarking –- the Participants admit that the Committee went

through annual exercises to review and discuss these

benchmarking reports and the Plans’ fees.       CSOF ¶ 91; see also

Ex. H (Smith Tr.) 97:4-11.     No reasonable factfinder could find

to the contrary, even when faced with evidence showing that some

Committee members could not recall what plans were included in

benchmarking prepared by its consultant.       While courts have held

that the fiduciary cannot act prudently if the fiduciary does

not know “how and to what extent a service provider is

compensated[,]” see, e.g., Bugielski v. AT&T Servs., Inc., 76

F.4th 894, 912-13 (9th Cir. 2023), the Participants do not cite

any case to suggest that some Committee members’ lack of

knowledge (or lack of recollection) as to which comparator plans

a co-fiduciary consultant included in benchmarking fees

demonstrates imprudence.

     Participants also do not genuinely dispute that the

Committee’s benchmarking practices did not follow industry

protocol.   Defense expert Gissiner opines that Fiducient’s

benchmarking –- reviewed by the Committee regularly -- showed

that both Plans’ fees were “comparable to the recordkeeping fees

paid by similarly-sized plans” and that Fiducient “appropriately

                                     [25]
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monitored recordkeeping fees paid to TIAA and Fidelity in

accordance with industry practice.”      Ex. 12 (Gissiner Report) ¶¶

120, 138, ECF No. 62-12.     While the Participants attempt to

dispute this benchmarking process through Plaintiffs’ expert

Minnich, who opines that “the proper comparison [for monitoring

fees] is to the entire [defined contribution] market of

recordkeepers[,]”7 CSOF ¶ 83 (disputing whether the benchmarking

conforms to industry standards), the Participants fail to

dispute the appropriateness of Fiducient’s actual benchmarks,

which showed that Plan I’s fees were lower than comparable plans

(in all but one benchmark in 2019).      Ex. 12 (Gissiner Report) at

Exhibit 7A (compiling Fiducient’s benchmarking results).         In

fact, Minnich testified that he is not opining on the

Committee’s process for monitoring fees.       Ex. 2 (Minnich Tr.)

111:5-12, ECF No. 68-2.    Over the Class Period, Fiducient

benchmarked based on the following criteria for Plan I:8 (1)




     7 In his report, Minnich criticizes Gissiner for comparing
the Plans’ fees to “a very limited set of overpriced,
benchmarked pricing data from High Education Plans.” Ex. 18
(Minnich Rep.) 4, ECF No. 62-18. Gissiner does opine that
Fiducient’s “[b]enchmarking results using similarly-sized
comparator TIAA plans . . . are the most appropriate
benchmarking group,” Ex. 12 (Gissiner Rep.) at Exhibit 7A, and
he provides calculations as to how the Plans’ fees measure up
against those paid by TIAA and Fidelity’s other clients, id. at
Exhibit 8A, 8B.
     8 To contextualize this benchmarking, the Courts notes that,

throughout the Class Period, Plan I had 3,538 to 3,697
participants and approximately $447,000,000 to $731,000,000 in
                                     [26]
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assets from $250,000,000-500,000,000; (2) assets over

$500,000,000; (3) TIAA Plans with assets over $500,000,000; and

(4) 2,500-5,000 participants.     Ex. 12 (Gissiner Report) at

Exhibit 7A (summarizing Fiducient’s benchmarking).        For Plan

II’s fees, Fiducient’s benchmarking criteria included assets

from $100,000,000 to $250,000,000, $250,000,000-$500,000,000,

and $500,000,000-$1,000,000,000 (changing as Plan II’s total

assets grew) and showed the Plan’s fees were below its

benchmarks.   Id. at Exhibit 7B.     The underlying data for

Fiducient’s benchmarking, according to the QIRs, came from the

Fiducient’s institutional consultants plan survey, consisting of

over 500 retirement plans and includes “plans of varying size

and type.”    Ex. 61 (Q1 2016 QIR, BC-SELLERS001157, at 165-67,

169-171), ECF No. 63-16; Ex. 86 (Q1 2022 QIR, BC-SELLERS002920,

at 2928), ECF No. 63-44 (stating that the survey included 587

defined contribution plans, with the average plan of

$335,000,000 in assets and 2,813 participants).        Thus, there is

no indication that the Plans included in the benchmarking were

only overpriced Higher Education Plans (following Minnich’s

criticism of Gissiner), see supra note 7, as the survey included

a variety of defined contribution plans.




assets, and Plan II had 2,760 to 3,221 participants and assets
between $239,000,000 and $516,000,000. CSOF ¶¶ 13, 34.
                                     [27]
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     Thus, this Court rules that there is no genuine dispute of

material fact as to whether the Committee reviewed and discussed

Fiducient’s benchmarking or whether Fiducient’s benchmarking

reports followed industry protocols.

          3.     Requests for Proposal (RFP)

     The Participants ask “why the Committee has no plans to

conduct an RFP in the future, despite over five years having

passed since the last.”    Opp’n 7; Ex. D (Trainor Tr.) 199:6-14,

ECF No. 71-4 (stating that there is no plan to conduct an RFP in

2023 and the Committee has not yet discussed planning one in

2024); Ex. B (John Burke Tr.) 76:12-24 (explaining that the

Committee does not have plans to conduct an RFP “to his

knowledge”).    Whether the Committee has plans to conduct RFPs in

the future is not genuinely disputed -- Committee member Zona

indicates that the Committee has general plans for a RFP in the

future, it just had not yet discussed specifics for when exactly

the RFP will occur.    Ex. G (Zona Tr.) 224:21-225:13, ECF No. 71-

7 (explaining that while the Committee did not discuss

conducting an RFP for 2023, the Committee has discussed planning

one in the future, but that there is “no urgency” to do so at

this time).    Thus, this dispute is not genuine.      Regardless,

this Court agrees with Boston College that this claim is

speculative –- Participants are speculating as to a future

breach by the Committee.

                                     [28]
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     To the extent the Participants are suggesting that Boston

College should have conducted an RFP from the 2019 to present,

this Court rejects those arguments.      The Committee conducted an

RFP in 2018, benchmarked its fees (which showed its fees were

reasonable), and negotiated a moderate fee decrease in fees in

2021 for both Plans.    CSOF ¶¶ 28, 40.     Although the Participants

dispute Plan I’s actual fees, they do not dispute that the

Plans’ fees declined throughout the Class Period.9        The

Participants do not address the cases cited by Boston College

demonstrating that conducting RFPs, along with regular

benchmarking and negotiations, sufficiently demonstrates a

prudent process on summary judgment.        Mem. 7; Marshall v.

Northrop Grumman Corp., No. 216CV06794ABJCX, 2019 WL 4058583, at

*3-4, 11 (C.D. Cal. Aug. 14, 2019) (holding for the fiduciary on

summary judgment when the fiduciary conducted an RFP to hire a

recordkeeper in 2005, benchmarked fees with a consultant in

2010, renegotiated fees in 2011, issued new RFP in 2014, and

renegotiated fees in 2015) (9 years between each RFP); Huang v.

TriNet HR III, Inc., No. 8:20-CV-2293-VMC-TGW, 2023 WL 3092626,

at *1-2, 10-11 (M.D. Fla. Apr. 26, 2023) (holding for fiduciary


     9 Ex. 17 (Minnich Report) 23, ECF No. 62-17; see id. at 40
(parties agreeing that Plan II’s fees decreased in terms of
basis points, or percentage of required revenue); CSOF ¶ 28.
But see Ex. 17 (Minnich Report) at 23 (showing that Plan II’s
fees in dollar terms fluctuated throughout the Class Period, but
ultimately decreased from 2016 to 2022).
                                     [29]
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on summary judgment when the fiduciary conducted an RFP in 2015,

conducted a request for information in 2018, held another RFP in

2021 that consolidated the plans, and reviewed fees/benchmarking

in the interim between RFPs, over a class period from 2014 to

2023); see also Troudt v. Oracle Corp., No. 16-CV-00175-REB-SKC,

2019 WL 1006019, at *7-8 (D. Colo. Mar. 1, 2019) (granting

summary judgment for fiduciary when it met quarterly, regularly

reviewed its fees and benchmarking, and secured significant

price concessions from recordkeepers through negotiations).             The

Participants’ caselaw is inapposite.10      Although Participants

cite evidence that Department of Labor regulations say it is

normal for providers to conduct an RFP every three to five

years, CSOF ¶ 223, as of the date of Boston College’s motion for

summary judgment, it had been less than five years since the

last RFP.   Id. ¶ 109 (Committee voting on RFP bids in late

2018).    See generally Mem. (filing for summary judgment in late

September 2023).   Thus, this Court holds that there is no


     10Participants cite to Garthwait, in which the court denied
the fiduciary’s motion for summary judgment. Garthwait, 2022 WL
3019633, at *5, 15, 18. In Garthwait, the fiduciary did not
conduct competitive bidding, there was no evidence that the
fiduciary engaged in negotiations to reduce fees, and the
fiduciary relied on assurances of its recordkeeper that fees
were reasonable. Id. This is distinguishable from the actions
taken by the Committee. Similarly, Tracey is distinguishable.
In Tracey, the fiduciary knew its fees were much higher than the
market rate and repeatedly rejected its consultant’s
recommendations to conduct an RFP. Ex. 135 (Tracey SOF) ¶¶ 123,
156, ECF No. 79-4; Tracey, 404 F. Supp. 3d at 359.
                                     [30]
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genuine dispute of fact that Boston College conducted sufficient

RFPs during the Class Period.

             4.     Decision to Not Consolidate and Keep Incumbent
                    Recordkeepers

       The Court next addresses whether there is a genuine dispute

of material fact as to the Committee’s decision not to

consolidate the Plans during the 2018 RFP.

       This Court rules that there is a genuine issue of material

fact as to whether the Committee acted prudently in deciding not

to consolidate the plans to a single recordkeeper after the 2018

RFP.

       In 2018, the Committee considered an RFP for its

recordkeeping fees, soliciting bids from five vendors and

considered both single and multi-recordkeeping arrangements.

CSOF ¶ 103.       The Participants dispute whether it was prudent for

Boston College to turn down a $31 consolidated bid from Fidelity

and whether the Committee’s beliefs regarding consumer choice

and disruption were appropriate considerations in deciding

whether to consolidate.       Opp’n 8-9.

       The meeting minutes from the RFP state that the Committee

considered the following factors during the RFP process: the

recordkeeper’s experience in administering university plans,

fees, cybersecurity, administrative services, “participant and

plan sponsor technology platforms and websites,” “participant


                                        [31]
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communication, advice and educational offerings,” compliance

services, and service teams.        Ex. 48 (2018 Meeting Minutes), ECF

No. 63-3.        There is testimony, however, showing that the

Committee members heavily considered disruption and consumer

choice/preference in deciding not to consolidate to a single

recordkeeper.11

        Participants challenge whether it was prudent for the

Committee to weigh the value of providing consumer choice in

favor of consolidation.        Opp’n 9.    Participants provide evidence

that Boston College did not conduct a survey or procure other

“objective” data showing any participant preference for

retaining incumbent recordkeepers as opposed to a consolidated

plan.        Opp’n 9; CSOF ¶¶ 18, 107.12    But see Ex. 5 (Trainor Tr.)



        Trainor’s testimony on why the Committee did not
        11

consolidate focused mostly on disruption concerns and
participant preference, while also mentioning that TIAA offers
unique investments, has lowered fees in the past, and that the
Committee had positive experiences with incumbent recordkeepers.
Ex. 5 (Trainor Tr.) 209:10-213:6. When asked why he did not
think consolidating would be in the best interests of
participants, Jack Burke first mentioned disruption --
ultimately saying that the fee savings were not worth the
disruption to participants. Ex. A (Jack Burke Tr.) 107:6-
109:10. John Burke similarly stated that, in deciding not to
consolidate, he considered the tradeoff between fee savings and
disruption/consumer preference. Ex. 10 (John Burke Tr.) 71:3-
15, ECF No. 62-10. Zona cited participant choice as the primary
reason for not consolidating. Ex. G (Zona Tr.) 100:10-102:5.
     12 Ex. D (Trainor Tr.) 196:17-23 (admitting that there is no

survey on consumer preferences for TIAA products); Ex. A (Jack
Burke Tr.) 178:13-180:24 (admitting that the Committee did not
measure participant preference for keeping TIAA through any
surveys). Several Committee members could not recall or did not
                                          [32]
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218:24-219:7 (stating that the Committee heard “anecdotally . .

. about a high level of satisfaction that [their] faculty and

staff had with the options that they have been provided at that

time”); Ex. G (Zona Tr.) 100:10-102:5 (believing that there were

surveys for consumer preference but not recalling specifics).

     Participants also argue that “disruption” was not a valid

concern, providing evidence that “[p]articipants who were happy

with TIAA were free to keep TIAA investments,” even if the

Committee consolidated under Fidelity.       Opp’n 9; see Ex. D

(Trainor Tr.) 31:20-32:9 (explaining that, when he was a

participant in another university plan and the employer

transitioned from TIAA to another recordkeeper, he “transferred

all [his] money to the [new recordkeeper’s investments] with the

exception of the TIAA Traditional, which [was] . . . not an easy

thing to transfer money from”).      Moreover, while Boston College

provides evidence that Trainor experienced “disruption

personally” as an administrator for another plan at another

university, Ex. D (Trainor Tr.) 196:17-21, and thus disruption

was a valid concern, Trainor also testified that transitioning

from TIAA to another recordkeeper was a “sound decision,”




know if any surveys were conducted to test whether participants
would have preferred a consolidated plan. Ex. H (Smith Tr.)
267:3-10; Ex. B (John Burke Tr.) 88:5-89:1, 92:7-11; Ex. F
(Pontiff Tr.) 79:6-20; Ex. G (Zona Tr.) 100:10-102:5; Ex. 3
(Martens Tr.) 93:17-94:24, ECF No. 67-3.
                                     [33]
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because the quality of other recordkeeper’s support was better

than TIAA, “the investment menu was competitive,” and noted that

the new recordkeepers’ fees were more competitive, id. 29:23-

31:7.        This, coupled with the fact that Trainor kept his TIAA-

CREF investments, weakens Trainor’s contention that he

experienced disruption, as Participants argue, CSOF ¶ 112.

Boston College argues that there would be disruption because

TIAA does not allow other recordkeepers to perform recordkeeping

services for their TIAA annuities.13          Ex. 18 (Minnich Report) at

5.   Gissiner stated that “consolidation of existing multi-vendor

arrangements can be disruptive to participants and creates

transition costs.”       Ex. 12 (Gissiner Report) ¶ 31.     Minnich

stated, however, that new recordkeepers help smooth these

transitions, that any bids typically would have factored in any

disruption concerns, and that participants (if they wished)

could keep the TIAA investments frozen while still paying a

different recordkeeper a lower fee.       Opp’n 8, 9; CSOF ¶ 23; Ex.

18 (Minnich Report) at 6; Ex. 17 (Minnich Report) at 7

(disruption costs are seen as cost of doing business); see also




       For example, if the Plan consolidated under Fidelity, and
        13

the individual participant choose to keep her TIAA annuities,
Fidelity could not act as recordkeeper for the TIAA annuities
and the individual would have to pay an additional recordkeeping
fee to TIAA if it wanted to keep the TIAA investments. CSOF ¶¶
20-23; Opp’n 8 n.8; see also Ex. 18 (Minnich Report) at 5
(pointing out that this is a business decision by TIAA).
                                       [34]
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Ex. J (10.10.2018 TIAA Response to RFP), ECF No. 71-10 (showing

that the Committee asks bidders during the RFP how they would

“reach out to participants with ‘frozen’ assets at a legacy

provider”).

     Participants further argue that it is Boston College’s

burden to show why the Committee “refused to act in a way that

saved participants money.”     Opp’n 8-9.    The Committee did

consider cost savings during the 2018 RFP, CSOF ¶ 110, and

courts have suggested that the possibility of lower fee is not

enough to show imprudence.     Cryer v. Franklin Res., Inc., 2018

WL 6267856, at *10-11 (N.D. Cal. Nov. 16, 2018) (granting

summary judgment for the fiduciary even though it did not pick

the lowest bid as a result of a RFP and the fiduciary’s expert

presented unrebutted evidence that the fees were reasonable14);


     14In its Notice of Supplemental Authorities (“Notice of
Authorities”), ECF No. 103, Boston College brings the Court’s
attention to Rodriguez v. Hy-Vee, Inc., No. 422CV00072SHLWPK,
2024 WL 1070982 (S.D. Iowa Mar. 7, 2024). Boston College cites
to Rodriguez for its proposition that Participants failed to
create a genuine dispute of material fact as to their fees claim
when Participants “identified only (i) the results of a
competitive request as to their plan and (ii) four other
retirement plans with lower recordkeeping fees but failed to
produce evidence showing, among other things, where the
defendant’s plan falls in the market as a whole for similar
plans.” Notice of Authorities 1-2 (internal quotation marks
omitted).
     The Rodriguez court ruled no reasonable factfinder could
find that defendants breached their fiduciary duties because:
(1) the committee had an adequate process for monitoring and
evaluating fees; (2) plaintiffs failed to identify a meaningful
benchmark to compare the plan’s fees; and (3) plaintiffs did not
                                     [35]
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provide context showing that the plan’s fees were excessive
relate to “market as a whole” for similar plans. Notice of
Authorities, Ex. A, Rodriguez Opinion (“Rodriguez”), ECF No.
103-1. Similar to the case at bar, the defendants in Rodriguez
had an independent consultant, regularly discussed fees,
received fee benchmarking showing they were lower than
benchmarks, and conducted a request for information (similar to
RFP). Id. at 18. Unlike here, the fiduciary in Rodriguez
ultimately accepted the lowest bid from the competitive bidding
process: its incumbent recordkeeper matched the lowest bid. Id.
at 23. The Rodriguez court stated that plaintiffs failed to
identify a “meaningful benchmark” to which to compare the fees,
deeming the four comparator plans identified by plaintiff’s
expert insufficient. Id. at 20. In the present case, the
Participants do not set forth any “comparator” plans but do
identify the $31 lowest bid from one incumbent (Fidelity) as a
“reasonable fee” or prudent alternative. See infra Section
II.F.2. The Rodriguez court explained that a plaintiff “must
produce evidence showing . . . where defendant’s plan falls in
the market as a whole for similar plans” because otherwise the
plaintiff fails to show how a defendant’s fees “were actually
excessive relative to the market as a whole.” Rodriguez at 20-
22. Here, the Participants argue that the 2018 RFP bid results
provided a tailored “market baseline” for the Plans’ fees and
thus comparator plans are not necessary to survive summary
judgment. Opp’n 15-16; Opp’n Mot. Exclude Minnich 16, ECF No.
68.
     Were the Court to state that a plaintiff must show how the
defendants’ fees compare to the market as a whole in order to
survive on the element of breach or loss, the Court would
effectively place the burden of loss causation on plaintiffs.
In other words, if plaintiffs must show that defendants’ fees do
not fall within comparable plans to survive summary judgment on
breach, plaintiffs are essentially tasked with disproving the
fees’ objective prudence (i.e., the burden would be on
plaintiffs to show that defendants’ fees are not objectively
reasonable). The Participants’ burden is breach (showing an
imprudent process) and loss (identifying a prudent alternative
or meaningful benchmark). Brotherston, 907 F.3d at 39. Putting
the burden on plaintiffs to show that their “prudent
alternative” is the only prudent alternative (by showing how
defendant’s fees measure up against the market) improperly
places the burden of loss causation on plaintiffs. See
Sacerdote,9 F.4th at 113-14.
     Similarly here, the Participants do not need to show that
Boston College’s fees were not economically reasonable (i.e.,
                                     [36]
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see also Ex. 132 (2023 DOL Advisory Opinion) at 6, ECF No. 79-1

(“The fiduciary should not consider any one factor, such as the

lowest bid for services, to the exclusion of any other relevant

factor, such as the quality of the services.”).

     The Court recognizes that a fiduciary does not have to

select the lowest fee to satisfy its duty of prudence.         Still,

in some instances, it may be imprudent to not consolidate plans.

Minnich recommends consolidation because “it allows the plan to

maximize its bargaining power” -- higher participant counts

result in lower fees.    Ex. 17 (Minnich Report) at 10-12; Ex. 18

(Minnich Report) 3.    But see Ex. 4 (Minnich Tr.) 151:13-152:1

(acknowledging that it is not his opinion that it is “always

unreasonable or not a best practice” to have multiple

recordkeepers).   A consulting group reported to the Committee in

2016 that “[m]aintaining two plans is a more complex design than

plans offered at most colleges and universities[,]” RSOF ¶ 221,

and Fiducient advised the Committee in 2016 to consider

consolidation, Ex. Q (Plan Enhancements Summary, BC-

SELLERS001132, at 1151), ECF No. 71-17.       Moreover, here, there

could have been significant cost savings were the Plans




not objectively prudent) to survive summary judgment on breach
and loss -- these arguments instead relate to the fees’
objective prudence, which Boston College has the high burden of
proving once the Participants show breach and loss.
Brotherston, 907 F.3d at 39; see infra Section II.F.2.b.
                                     [37]
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consolidated: instead of $51 for Plan I and $47 for Plan II, Ex.

74 (Q1 2019 QIR, BC-SELLERS003943, at 3952, 3954), ECF No. 63-

30, a participant could have paid $31 under a consolidated plan

after the 2018 RFP, Ex. 71 at 1101; Ex. 72 (RFP Analysis, BC-

SELLERS004296, at 4299), ECF No. 63-28.

     Courts have found fiduciaries compliant with ERISA when its

decision-making process was “considered, careful, and prudent.”

See, e.g., Sacerdote, 328 F. Supp. 3d at 298, 300.        In Bunch v.

W.R. Grace & Co., the First Circuit granted summary judgment in

favor of defendants when they “engaged in a substantively sound,

reasonable analysis for all relevant circumstances” and “debated

and considered ad nauseam the pros and cons of [an investment

decision].”   555 F.3d at 10 (internal citation omitted).        There

is evidence that the Committee weighed the pros and cons of

consolidation.   Ex. 3 (Martens Tr.) 93:15-94:1; CSOF ¶ 110.            The

parties dispute, however, the underlying assumptions to the

Committee’s decisions (whether it was appropriate to consider

disruption and participant choice), which is thus an attack on

whether the decision was prudent and considered.        See 29 C.F.R.

§ 2550.404a-1 (stating that ERISA’s duty-of-prudence standard is

“satisfied if the fiduciary: (i) Has given appropriate

consideration to those facts and circumstances that . . . the

fiduciary knows or should know are relevant to the particular



                                     [38]
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investment or investment course of action involved . . . .”

(emphasis added)).

        A reasonable factfinder could find that the Committee

engaged in an imprudent decision-making process in rejecting the

consolidated bid.    A reasonable factfinder could find that the

Committee’s reliance on “consumer choice” as a factor for

keeping incumbent recordkeepers was not an appropriate

consideration because its beliefs about consumer choice derived

from mere “anecdotal” evidence and not from any objective

measure of consumer preference.      A reasonable factfinder could

also find that disruption was not a valid concern, considering

participants could keep their TIAA investments even if there was

a change in recordkeepers and disruption concerns were factored

into the RFP bidder’s bids.     These assumptions were especially

important, as several Committee members identified participant

choice and disruption as notable reasons for not choosing lower

bids.    With all reasonable inferences in favor of the

Participants and considering that reasonableness inquiries are

usually inappropriate for decision on a motion for summary

judgment, this Court holds that there is a genuine dispute of

material fact as to whether the Committee prudently decided to

not consolidate.




                                     [39]
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          5.      TIAA’s Compensation

     The Participants argue that there is a genuine material

dispute as to whether the Committee knew the recordkeeper’s

compensation during the Class Period.       Opp’n 9-10.   Fiduciaries

must have a strong understanding of “how and to what extent

recordkeepers are compensated[]” to satisfy their duty of

prudence obligations.    Bugielski, 76 F.4th at 912; Turner, 530

F. Supp. 3d at 136.    While there is no genuine dispute as to

TIAA’s compensation from the 2018 RFP to present, this Court

rules that a reasonable factfinder could find that the Committee

was not sufficiently aware of the distinction between the unique

participant fee (fee for TIAA’s entire relationship with Boston

College) and the per participant fee (fee for Plan I).

     As a threshold matter, the parties disagree on what Plan

I’s actual fees were.    The Participants state Plan I’s fees were

higher than that reported by Boston College, citing evidence

showing that Fiducient reported higher fees to the Committee (in

some documents) and that these higher fees were also reflected

in the meeting minutes after the 2018 RFP.       CSOF ¶ 28.    The

meeting minutes and TIAA contracts report that TIAA reduced its

fees from $90 to $79 after the 2018 RFP.       Ex. 48; Ex. 27 (TIAA

Contract) at 1, ECF No. 62-27.     The internal RFP analysis also

reported Plan I’s fees (before the RFP) as $90 per participant,

Ex. 71 at 1094.    Boston College states that Plan I’s actual fees

                                     [40]
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before the 2018 RFP was $59, not $90.       CSOF ¶¶ 25-26, 28, 96.

This discrepancy emerges because TIAA’s contracted fee from 2016

and 2019 covered its entire relationship with Boston College,

including the fees for all four of Boston College’s retirement

Plans, id. ¶¶ 25-26; see Ex. 12 (Gissiner Report) ¶ 204

(explaining the difference between the two fees).        The fee for

Boston College’s entire relationship with TIAA is referred to as

the “unique participant fee,” whereas the fee specific to Plan I

is referred to as the “per participant fee” –- as explained by

Fiducient’s Smith.    Ex. H (Smith Tr.) 256:7-259:5.      Although the

Participants argue that “even the amount of compensation

actually paid to TIAA [for Plan I] is disputed[,]” Opp’n 9, and

their expert cites the higher unique participant fees in his

report,15 the Participants do acknowledge that there is a

distinction between the unique participant fee (for Boston


     15Participants’ expert Minnich uses the unique participant
fee in his report, Ex. 17 (Minnich Report) at 23, because
Minnich felt it was important to use the fees reported to the
Committee. Ex. 2 (Minnich Tr.) 53:4-54:8. Minnich, however,
ignores that Fiducient reported both the unique participant fee
and the per participant fee in the QIRs (shared with the
Committee) since 2018. See id.; CSOF ¶ 28 (citing QIRs as
evidence for Plan I’s fees). Ironically, in his report, Minnich
cited the QIRs as a basis for Plan II’s fees in 2019 and 2020
and ignored that these very same QIRs that reported Plan I’s per
participant fees. Ex. 17 (Minnich Report) at 23 nn.16-17; Ex.
78 (Q1 2020 QIR, BC-SELLERS002602, at 2615-16); see Ex. 74 (Q1
2019 QIR, BC-SELLERS003943, at 3952-54). Minnich later
testified that he has no reason to dispute that the per
participant fee for Plan I is lower than the fees he cites in
his report. Ex. 2 (Minnich Tr.) 57:2-17.
                                     [41]
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College’s entire relationship with TIAA) and the per-participant

fee (Plan I).    Opp’n 10 (stating the issue regarding the

discrepancy in fees “arises because the $90 figure was for

TIAA’s entire relationship with BC”).       In maintaining that

TIAA’s actual compensation is in dispute, the Participants, and

their expert Minnich, ignore the fact that Fiducient did report

this per participant Plan I fee to the Committee in its QIRs

(specifically distinguishing the unique and per participant fee)

from 2018 to present.    CSOF ¶ 28 (Boston College citing QIRs as

source for Plan I’s fees).     Participants’ argument is further

weakened by an email from TIAA expressly stating that the unique

participant price was $79 after the RFP, and Plan I’s actual

fees were $51.   Ex. K (Cobak Email, TIAA_BC_00048009, at 8009),

ECF No. 71-11.    Thus, given the Participants’ failure to adduce

evidence disputing Plan I’s actual fees, no reasonable

factfinder could find a factual dispute as to Plan I’s fees from

2018 to present.16


     16The Participants also state that these fees do not
include ancillary revenue. Opp’n 10. Boston College does not
address this. Minnich defines ancillary revenue as
“[a]dditional revenue sources from a plan not related to
recordkeeping” including cross-selling insurance, proprietary
investment options, IRA rollovers, and the use of wealth
advisors. Ex. 17 (Minnich Report) at 15. The Participants do
not cite to record evidence showing what ancillary revenue the
recordkeepers were receiving (if any) –- they only cite
testimony showing that Committee members were unable to quantify
or identify any ancillary revenue. CSOF ¶ 27. Participants
cite Bugielski, in which the court explained that, to satisfy
                                     [42]
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      The parties do dispute, however, whether the Committee was

aware of the distinction between the unique and per participant

fees -- in other words, the parties dispute whether the

Committee was aware of Plan I’s actual fees.

     The Participants provide evidence that Fiducient frequently

reported the value of the “unique participant fee” to the

Committee.   Ex. L (BC-SELLERS024163, at 4336), ECF No. 71-12

(summary of fees provided by Fiducient reporting the unique

participant fee); Ex. 71 at 1094 (RFP analysis identifying the

“current” fee as the unique participant fee).        Quarterly reports

after the 2018 RFP do report both the per participant fee and

the unique participant fee to the Committee.17       Thus, the

Committee did receive, and regularly reviewed, reporting on both

the unique and per participant fees after 2018.        When shown a




their duty of prudence, fiduciaries must know how the
recordkeeper is compensated “in connection with” the services
provided to the Plan -– both directly and indirectly.
Bugielski, 76 F.4th at 912. Indirect compensation is revenue
obtained from any source other than the plan, while direct
compensation is compensation directly from the plan. Id. at
910. Minnich defines ancillary revenue as unrelated to
recordkeeping, and the Participants do not point the Court to
record evidence that there was ancillary revenue for the
Committee to be aware of, nor do they explain why ancillary
revenue should be considered indirect compensation that
fiduciaries ought be aware of. Id. at 898. Thus, the Court
does not consider “ancillary revenue” in determining if the
Committee satisfied its duty of prudence claim.
     17 See, e.g., Ex. 74 at 3950; Ex. 78 at 2616. Ex. 82 (Q1
2021 QIR, BC-SELLERS002754, at 2762-2763), ECF No. 63-39; Ex. 86
at 2930, 2934.
                                     [43]
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fee summary sent to the Committee by Fiducient which reported

the unique participant fee, Committee member Pontiff testified

that he understood these fees to be the fees for Plan I (which

is not correct).      Ex. F (Pontiff Tr.) 170:2-24.       Pontiff

similarly could not state the difference between the unique and

per participant fee in 2022.        Id. 176:3-20.    Committee member

Jack Burke was also unable to state the difference between the

unique participant and per participant fee in 2022.            Ex. A (Jack

Burke Tr.) 135:4-136:18.        Committee members Zona, Martens, and

Fiducient’s Smith, however, all demonstrated that they did

understand the difference between the unique and per participant

fee.    Ex. H (Smith Tr.) 254:12-258:14; Ex. G (Zona Tr.) 243:8-

245:12, 249:15-251:5; Ex. E (Martens Tr.) 214:1-215:12, 217:2-

11, 218:18-219:1, 222:13-226:2, ECF No. 71-5.           Moreover, the

Committee had nuanced discussions to ensure that its members

understood the Plan’s “true net cost to participants.”            Ex. G

(Zona Tr.) 228:2-18; see Ex. A (Jack Burke Tr.) 117:9-118:2; Ex.

F (Pontiff Tr.) 170:19-172:6.        Boston College argues that it is

immaterial that some Committee members did not know the

difference between these two fees, because there is record

evidence that some Committee members did.          Reply 7.

       While Boston College submits compelling evidence that the

Committee was sufficiently aware of Plan I’s fees, this Court

cannot weigh evidence on summary judgment and thus rules that a

                                        [44]
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reasonable factfinder could find, based on Pontiff and Jack

Burke’s testimony, that the Committee did not have sufficient

knowledge of the distinction between the unique participant fee

and Plan I’s actual fees.

            6.   Potential Conflicts of Interest Between Committee
                 Members and the Incumbent Recordkeepers

     This Court holds that potential conflicts of interests

between Committee members and the incumbent recordkeepers

present a genuine dispute of material fact.

     The parties dispute whether the Court ought consider

evidence of certain Committee members’ relationships with, and

more importantly, personal benefits from, both TIAA and

Fidelity.   See Defs.’ Mem. Supp. Mot. In Limine, ECF No. 83;

Pls.’ Opp’n Mot. In Limine (“Loyalty Opp’n”), ECF No. 88.

     The Participants state that there is reason to doubt the

Committee’s objectivity during the 2018 RFP, arguing that this

counsels in favor of denying Boston College’s motion for summary

judgment.   Opp’n 9.   Committee member Jack Burke testified that

he has accepted sporting event tickets from TIAA and Fidelity,

Ex. A (Jack Burke Tr.) 226:3-227:20, and that he did not recuse

himself from the vote related to the 2018 RFP, nor did he

discuss this potential conflict with other members of the

Committee, id. 221:23-223:3; see also Ex. F (Pontiff Tr.) 191:7-

11 (Pontiff unaware of any Committee members who accepted


                                     [45]
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tickets from incumbent recordkeepers).       Further, from roughly

2017 to 2020, Committee member Zona was on the TIAA-Nuveen

investment council, which provided Zona access to networking

opportunities and consisted of TIAA clients.        Ex. G (Zona Tr.)

41:16-42:9, 43:19-44:1, 47:21-48:8.      While Zona was not directly

compensated for his role on the council, TIAA did reimburse

Zona’s hotel and transportation expenses.       Id. 44:19-45:9.

Martens testified that, while he believed there was a conflict

of interest policy at the university level, he was unsure if

there was one specific to the Committee.       Ex. E (Martens Tr.)

256:21-257:2.

     Boston College argues that these facts do not pertain to a

duty-of-prudence claim, but instead relate solely to duty of

loyalty.   Defs.’ Mem. Supp. Mot. In Limine.      The Participants

failed to assert duty of loyalty claims, as this Court has

previously acknowledged, Mem. Decision at 21 n.2.        Boston

College also points to Jack Burke’s testimony that these events

or his relationship with TIAA did not influence his decision

during the 2018 RFP.    Ex. A (Jack Burke Tr.) 220:15-223:5.        A

reasonable factfinder, however, is not required to believe this

testimony.

     While these facts may implicate a duty of loyalty claim,

courts have found that such conflicts of interest can also be

evidence of a breach of the duty of prudence.        In Bunch v. W.R.

                                     [46]
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Grace & Co., the First Circuit explained that a defendant acted

prudently when, upon recognizing that a situation “augured a

potential conflict of interest with [defendant’s] fiduciary

duties,” the defendant took “the eminently correct decision of

insulating itself from that possibility.”       555 F.3d at 8.     Other

courts have also determined that a failure to prevent a conflict

of interest may be viewed as a breach of the duty of

prudence.   See, e.g., Burke v. Boeing Company, 42 F.4th 716,

731-32 (7th Cir. 2022) (emphasizing that were there a conflict

of interest for fiduciaries, a breach of the duty of prudence

could have occurred) (citing Leigh v. Engle, 727 F.2d 113, 134-

35 (7th Cir. 1984) (suggesting that the duty of prudence

obligates fiduciaries to minimize conflicts of interest));

Donovan, 680 F.2d at 271 (noting that ERISA’s duties of loyalty

and prudence require fiduciaries “to avoid placing themselves in

a position where their acts as officers or directors of the

corporation will prevent their functioning with the complete

loyalty to participants demanded of them” and explaining that

duty of prudence and duty of loyalty have “different although

overlapping standards”).     ERISA’s duty of prudence, which

requires fiduciaries to carry out their duties with “care,

skill, prudence and diligence[,]” includes the duty to “refrain

from placing himself in a position where his personal interest

may conflict with the interest of the beneficiary.”         Corley v.

                                     [47]
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Hecht. Co., 530 F. Supp. 1155, 1163 (D.D.C. 1982).        See Loyalty

Opp’n 7.

     This Court holds that there is a genuine dispute as to

whether certain Committee members acted imprudently by failing

to recuse themselves from voting during the 2018 RFP, as they

failed to remove themselves from a position where their personal

interest may have come into conflict with the Participants’.            A

reasonable factfinder could find that this failure to recuse

demonstrated a process failure.      Thus, this Court rules that

there is a genuine dispute of material fact as to breach on the

Recordkeeping Fees’ claim.

     D.    Boston College’s Motion for Summary Judgment on Breach
           for the Challenged Investments Claim is DENIED.

     This Court rules that there is a genuine dispute of

material fact as to whether the Committee breached its fiduciary

duties in deciding to retain the challenged investments.

     The Participants argue that the Committee imprudently

maintained the CREF Stock Account and TIAA Real Estate Account.

Compl. ¶ 8.   Boston College argues that it acted prudently as

matter of law because the Committee reviewed and discussed

reports on the investments regularly, made changes to its

investment lineup, used a “Watch” list to monitor investments,

and considered various factors when evaluating the investments.

Reply 8; Mem. 8-12.    Boston College further argues that the


                                     [48]
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Committee prudently monitored the CREF Stock Account by

adjusting its benchmarks as needed, put it on “Watch” for a

manager’s departure in 2020, and has kept it on “Maintain”

status from 2021 to present.     Mem. 9.    Specific to TIAA Real

Estate, the Committee put it on “Discuss” in 2022 due to a

manager departure and shortly after placed it back on

“Maintain”.    Id.

     The Participants argue that the Committee failed to act

despite the challenged investments’ poor performance throughout

the Class Period, that there are material, factual disputes as

to whether the Committee followed a prudent process in deciding

to retain these funds, and dispute whether it was reasonable to

retain the challenged investments considering their performance.

Opp’n 10-13.    The Participants also dispute whether the

Committee acted in good faith in monitoring the investments.

Id. at 18-20.

          1.     Overall Principles and Factual Disputes
                 Concerning Monitoring and Evaluating the
                 Challenged Investments

                        a. General Principles Regarding Monitoring
                           and Evaluating Funds under ERISA’s
                           Duty-of-Prudence Standard
     In determining whether a fiduciary breached its duty of

prudence, the Court must engage in a context-specific inquiry,

without relying on hindsight, and ask whether the fiduciary

employed the appropriate methods to investigate and evaluate an


                                     [49]
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investment.   Cunningham v. Cornell Univ., 86 F.4th 961, 983 (2d

Cir. 2023).   An “investment’s drop in price or value” alone is

not enough to demonstrate imprudence, nor is it enough “to show

that better investment opportunities were available at the time

of the relevant decisions.”     See Cates v. Trustees of Columbia

Univ., No. 116CV06524GBDSDA, 2019 WL 8955333, at *12 (S.D.N.Y.

Oct. 25, 2019), report and recommendation adopted, No.

16CIV6524GBDSDA, 2020 WL 1528124 (S.D.N.Y. Mar. 30, 2020)

(quoting Jacobs v. Verizon Commc'ns, Inc., No. 16 CIV. 1082

(PGG), 2017 WL 8809714, at *8 (S.D.N.Y. Sept. 28, 2017)); see

also Cunningham v. Cornell Univ., No. 16-CV-6525 (PKC), 2019 WL

4735876, at *11 (S.D.N.Y. Sept. 27, 2019) (stating “investment

losses are not proof that an investor violated his duty of care”

because losses can be a part of a long-term investment

strategy), aff'd, 86 F.4th 961 (2d Cir. 2023).

     A showing that an investment was performing poorly relative

to its benchmarks, however, is relevant in determining whether

the fiduciary engaged in a prudent process in retaining the

investment, because underperformance may signal that additional

review of the investment may be necessary.       See Turner, 530 F.

Supp. 3d at 133 (the duty of prudence requires an analysis of

whether the “fiduciary took into account all relevant

information” in evaluating the challenged investment); Tracey,

404 F. Supp. 3d at 361 (“[C]ourt[s] will evaluate conduct under

                                     [50]
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the totality of the circumstances and assess a fiduciary's

procedures, methodology and thoroughness.” (internal quotation

marks omitted)); Jacobs, 2023 WL 3027311, at *20 (explaining how

underperformance may signal that the investment ought be subject

to additional monitoring or review).        A fiduciary is not

entitled to judgment as matter of law when there is no evidence

showing that the fiduciary conducted a process to monitor the

imprudent investments or did not have a reason to maintain

imprudent investments considering their poor performance.          See

Jacobs, 2023 WL 3027311, at *25.

     Further, while hiring an advisor and having a review

process for investments can be evidence of prudence, “the

presence of a review process and an independent investment

advisor does not have a talismanic effect.”       Id. at *22.     In

determining prudence, courts must look not only at the

fiduciary’s procedures, but also at the “methods used to carry

out those procedures [and] . . .      thoroughness of the analysis

of the data collected in that investigation.”        Id. at *20

(quoting Sacerdote, 328 F. Supp. 3d at 284).        That is, the

fiduciary must show that the imprudent investment was actually

considered.   Id. at *22.     The absence of evidence of

discussions about alternatives to an imprudent investment

“suggest[s] that the policies and procedures in place may not

have functioned as intended.”     Id.

                                     [51]
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     For example, in Jacobs, defendants moved for summary

judgment on the grounds that there was no dispute of material

fact as to the prudence of the Committee’s fiduciary process to

monitor and evaluate the investments, as well as because the

investment itself was not imprudent.        Id. at *21-22.    The Jacobs

court denied the fiduciary’s motion for summary judgment,

explaining that the fiduciary “provide[d] no explanation” for

why they kept the imprudent investment, and that there was no

evidence that the committee “discussed or considered what to do

about the Fund's poor performance.”      Id. at *23 (“[I]t is not

clear as a matter of law that this [allegedly robust fiduciary

review] process functioned as designed . . . .”).18          Similarly,

the Jacobs court also ruled that defendants were not entitled to

summary judgment on the grounds that the challenged investments

performed well, because plaintiff provided evidence that the

challenged funds performed poorly by a “substantial amount”

according to multiple metrics.     See id. at *25 (explaining how

disputes as to the proper benchmarks are material factual

disputes).


     18See also Ellis v. Fidelity Mgmt. Tr. Co., 257 F. Supp. 3d
117, 129 (D. Mass. 2017), aff'd, 883 F.3d 1 (1st Cir.
2018)(explaining that “[m]erely following a procedurally prudent
process is not enough to establish that a fiduciary did not
breach its duty” because “court[s] must look to the surrounding
circumstances before properly determining whether a breach has
occurred”) (citing Bunch v. W.R. Grace & Co., 532 F. Supp. 2d
283, 288 (D. Mass. 2008), aff'd, 555 F.3d 1 (1st Cir. 2009)).
                                     [52]
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     First, this Court must assess whether there are factual

disputes as to the Committee’s procedures and general practices

in monitoring and evaluating funds, with the understanding that

these procedures and general practices alone will not

demonstrate prudence.    Next, this Court proceeds to assess

whether the Committee had reason to be concerned about the

challenged investments’ performance during the Class Period –-

in other words, whether the challenged investments’ performance

necessitated additional review beyond its normal procedures.

Lastly, the Court considers whether the Committee engaged in a

thorough, prudent, and reasoned decision-making process in

deciding to retain the challenged investments despite these

performance concerns.    See Ellis, 257 F. Supp. 3d at 128-29

(explaining that in determining breach, courts must consider the

“substantive reasonableness of the fiduciary’s actions and the

procedures by which the fiduciary made its decision”).

                b.    The Committee’s Overall Process
     This Court holds that there is no genuine dispute of

material fact regarding whether the Committee had a prudent

process in place to evaluate investments: it met regularly to

review and discuss investments, generally devoted more time to

items placed on “Watch,” and made changes to its investment

lineups.   This prudent process, however, is not enough for

Boston College to prevail on its motion for summary judgment.


                                     [53]
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     Boston College submits evidence that the “Committee

employed a robust process to monitor and evaluate all of the

Plans’ investment options.”     Mem. 8.     The Participants argue

that the fact that the Committee acted prudently with respect to

some investments does not outweigh “serious fact[ual] disputes

in the record.”   Opp’n 11 n.11.

     This Court considers Boston College’s overall process in

determining whether it satisfied its duty of prudence as matter

of law.   See In re Omnicom ERISA Litig., No. 20-CV-4141 (CM),

2021 WL 3292487, at *13 (S.D.N.Y. Aug. 2, 2021) (“[T]he ultimate

issue in an ERISA [duty-of-prudence] case [] requires

considering whether the overall process of decision-making was

up to standard.” (emphasis added)).       This Court also recognizes,

however, that evidence of a deliberate process alone is not

enough to establish prudence.     Sacerdote, 9 F.4th at 111 (“While

the absence of a deliberative process may be enough to

demonstrate imprudence, the presence of a deliberative process

does not . . . suffice in every case to demonstrate prudence.”).

     It is undisputed that Fiducient provided the Committee

reports on the Plans’ investments prior to Committee Meetings

each quarter, and that the Committee met three to four times a

year to discuss investments and the QIRs with Fiducient.         CSOF

¶¶ 63, 71-72, 121.    Moreover, there is evidence that the

Committee reviewed and evaluated the performance of all

                                     [54]
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investments throughout the Class Period, id. ¶ 145,19 including

factors such as performance, market conditions, diversification,

risk, strategy, expenses, and management.20       Further, the

Committee generally asked Fiducient questions about the

investments and requested additional materials during the Class

Period.21   Finally, the Committee also generally devoted more

time to discuss items put on “Watch”        -- Boston College submits

testimonial evidence that the Committee devoted more time to

discuss and ask questions about items put on “Watch”.22          The

Participants dispute this, CSOF ¶ 125, however, pointing to

testimony from Committee members stating that they did not know

or could not state whether the Committee did anything

differently when a fund was placed on “Watch[,]” id. ¶ 123,

including testimony from Smith that “[he] [doesn’t] know that

[the Committee] would do anything differently” “when a fund is

listed as being on watch.”     Ex. H (Smith Tr.) 163:13-24.       The

fact that some Committee members or Smith did not know whether


     19 Ex. 64 (Q4 2016 QIR, BC-SELLERS002155, at 2155, 2184-85,
2193-94), ECF No. 63-19; Ex. 52 (Minutes, February 12, 2020, BC-
SELLERS001442, at 1442-43), ECF No. 63-7.
     20 SOF ¶ 61, 146; Ex. 12 (Gissiner Report) ¶ 98; Ex. 1

(Martens Tr.) 66:5-67:23; Ex. 8 (Zona Tr.) 117:8-21, 204:20-
205:1, ECF No. 62-8; Ex. H (Smith Tr.) 137:14-138:2; id. 151:19-
152:8.
     21 Ex. 9 (Pontiff Tr.) 208:1-8, ECF No. 62-9; Ex. H (Smith

Tr.) 94:2-7; Ex. 8 (Zona Tr.) 66:19:67-9.
     22 Ex. F (Pontiff Tr.) 96:11-97:9, 98:18-99:2; see also Ex.

1 (Martens Tr.) 122:24-123:7; Ex. 8 (Zona Tr.) 129:18-20; Ex. A
(Jack Burke Tr.) 166:7-24.
                                     [55]
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the Committee treated items on Watch differently does not

contradict the testimony from other Committee members that they

did devote more time to items on Watch.       Thus, this is not

genuinely disputed.    Lastly, the Committee did make changes to

its investment lineups during the Class Period, CSOF ¶¶ 127-34,

which may provide some evidence that the Committee did engage in

prudent monitoring.    See Coyer v. Univar Sols. USA Inc., No.

1:22CV-0362, 2022 WL 4534791, at *6 (N.D. Ill. Sept. 28, 2022)

(suggesting that a fiduciary’s switching of investments shows

prudence because it “shows that defendants assessed their

investment options and made appropriate changes”).

     Thus, there is evidence that the Committee generally had a

process in place to review and monitor investments.         While

evidence of these procedures serves as some evidence of

prudence, it is not dispositive, as this Court must inquire more

specifically into the decision-making process behind retaining

the challenged investments.     Davis v. Magna Int'l of Am., Inc.,

No. 20-11060, 2023 WL 3821807, at *4 (E.D. Mich. June 5, 2023)

(the Committee reviewing investments several times per year,

maintaining a Watch list, and getting investment updates alone

does not demonstrate prudence).

          2.    The CREF Stock Account

     This Court next assesses whether there is a genuine dispute

of material fact as to whether the Committee engaged in a

                                     [56]
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prudent and reasoned decision-making process in deciding to

retain the CREF Stock Account.

                        a. There Is a Factual Dispute as to
                           Whether the CREF Stock Account
                           Experienced Sustained Underperformance.
     This Court concludes that factual disputes exist regarding

whether CREF experienced underperformance relative to its

benchmarks during the Class Period.

     The Participants first point to evidence of the CREF Stock

Account’s underperformance in 2016.      They provide evidence that

the CREF Stock showed “consistent . . . blocks of orange,” in a

2016 QIR when compared against one of its peer groups (Large Cap

Core), with “orange” indicating that the investment is in the

76th-100th percentile compared to peers (i.e., the worst ranking).

RSOF ¶ 216; CSOF ¶ 216; Ex. 62 (Q2 2016 QIR, BC-SELLERS001446,

at 1468), ECF No. 63-17; Ex. 60 (Q4 2015 QIR, BC-SELLERS002003,

at 2033), ECF No. 63-15.     Moreover, it is undisputed that, in a

June 2016 QIR, the CREF Stock “satisfied all [five] performance

criteria” related to being put on “Watch[,]” according to the

investment matrix.23   The same report also shows that the CREF

Stock “trailed its custom index for every [year] period.”          CSOF


     23RSOF ¶ 216; Ex. 62 at 1468, 1474 (showing that the only
factors on the Watch matrix that CREF Stock did not meet were
related to expense ratios and significant changes to the fund’s
managers, organization, and fund philosophy). But see Ex. 1
(Martens Tr.) 67:4-9 (explaining that the investment matrix is
not descriptive enough to understand truly whether to remove an
investment).
                                     [57]
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¶ 216; Ex. 62 at 1468; see also Ex. 1 (Martens Tr.) 140:3-6.

Despite this, the fund had a “Maintain” ranking in 2016.         Ex. 62

at 1474.   Boston College points to evidence that that the CREF

Stock was “green” (performed favorably) when compared to the

Global Multi-Cap Peer Group –- one of its newly added

benchmarks.   RSOF ¶ 216; CSOF ¶ 216; Ex. 62 at 1468.

     The Participants demonstrate a factual dispute as to

whether CREF Stock was put on Watch in 2020-21 for sustained

underperformance.    Participants submit several QIRs (from 2020

and 2021) that stated the CREF Stock Account was on “Watch” (in

part) for “sustained underperformance.”       RSOF ¶ 215.    Boston

College admits that these QIRs state that the CREF Stock Account

was placed on “Watch” due to “[a portfolio manager’s departure]

and sustained underperformance.”      Id.   The minutes for these

meetings only say that the CREF Stock Account was placed on

“Watch” due to “departure of one of the fund’s portfolio

managers” and omits language referring to “sustained

underperformance.”    Id.   Boston College provides Committee

member Martens’ testimony, explaining that he believed

performance was “subjective[,]” Ex. 1 (Martens Tr.) 132:17-

133:12.    Boston College argues this accounts for this

discrepancy, as one of Fiducient’s analysts prepared the QIR and

Smith prepared the minutes, Ex. H (Smith Tr.) 169:18-170:9.

Smith explains that these inconsistencies between the QIRs and

                                     [58]
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the meeting minutes could have been an oversight but otherwise

cannot explain the omission.     Id. at 172:18-174:15.      Although

meeting minutes are intended to be high-level summaries of

important topics discussed, see id. at 56:1-8, it does not make

sense for only one of the two reasons for the CREF Stock

Account’s “Watch” designation to be listed in the minutes.

While this could have been an oversight, as speculated by Smith,

or could have been because performance is subjective, as

speculated by Martens, a reasonable factfinder is not required

to believe these guesses as to these inconsistencies.         See

Reeves, 530 U.S. at 151.     Thus, the Participants demonstrate a

factual dispute as to whether the CREF Stock was placed on

“Watch” for underperformance.

     The Participants state that a 2022 QIR showed that the

“CREF Stock Account’s calendar year performance exceeded the

CREF Stock Composite Index in only one year -- 2017 -- from 2016

to 2022.”   RSOF ¶ 218; Ex. 89 (Q4 2022 QIR, Fiducient_004419, at

4441), ECF No. 63-49.    When compared to one of its peer groups –

IM Global Multi-Cap Core Equity -- CREF Stock “exceeded” its

performance every year from 2012 to 2015 and 2018 to 2022.          RSOF

¶ 218; Ex. 89 at 4458.    The CREF Stock Account also exceeded the

CREF Stock Composite Index in 2015 and 2013 and performed

similarly to CREF Stock Composite Index in 2020.        RSOF ¶ 218;

Ex. 89 at 4441.

                                     [59]
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     Beyond the parties’ analysis of Fiducient’s QIRs as

presented to the Committee, the parties’ experts dispute the

CREF Stock Account’s performance.      Boston College’s expert

Wermers opines that the “CREF Stock Account’s returns were

consistent with the returns of the composite index and peer

groups considered by the Committee” throughout the duration of

the Class Period.   SOF ¶ 173; Ex. 13 (Wermers Report) ¶ 61.

Participants’ expert Halpern, however, states that regardless of

the benchmarks applied, the CREF Stock Account’s “investment

performance has proven remarkably and consistently poor over an

extended time period, evaluated from many different

perspectives.”   CSOF ¶ 173; Ex. 15 (Halpern Report) 2-3, ECF No.

62-15.

     There is a genuine dispute as to whether the CREF Stock

Account underperformed relative to its benchmarks throughout the

Class Period.    Disputes as to CREF’s performance, however, are

not enough to deny Boston College’s motion for summary judgment,

as “investment losses [alone] are not proof that an investor

violated his duty of care.”     Jenkins v. Yager, 444 F.3d 916, 926

(7th Cir. 2006); see also Bunch v. W.R. Grace & Co., 532 F.

Supp. 2d 283, 290 (D. Mass. 2008) (“[T]he test is not whether

[the fiduciary] got the best possible return on the investment,

but whether it considered all relevant factors in deciding the



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prudence of [an investment decision].”), aff'd, 555 F.3d 1 (1st

Cir. 2009).

       A reasonable factfinder could find that the CREF Stock

Account’s performance, especially after it was put on “Watch”

for sustained underperformance, should have compelled the

Committee to subject it to additional review and monitoring.

Thus, this Court next evaluates whether Boston College engaged

in a thorough and reasoned process in deciding whether to

maintain the CREF Stock despite its sustained underperformance.

                   b.    Whether the Committee Engaged in a Thorough
                         and Reasoned Decisionmaking Process in
                         Deciding to Retain the CREF Stock Account.
       Considering the CREF Stock Account demonstrated enough

performance concerns for it to be placed on “Watch” (in part)

due to sustained underperformance, this Court considers whether

the Committee actually and thoroughly considered whether to

retain the CREF Stock Account.        See Jacobs, 2023 WL 3027311, at

*22.

       This Court rules that Boston College fails to show, as

matter of law, that the Committee engaged in a thorough and

reasoned decision-making process in deciding to retain the CREF

Stock Account.

                           i. Relevant Facts

       The Participants generally take issue with the lack of

specific and detailed record evidence as to discussions about


                                        [61]
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keeping the CREF Stock Account.24     Boston College provides

evidence that the Committee discussed the CREF Stock Account and

its performance at meetings throughout the Class Period.         Ex. 6

(Smith Tr.) 42:10-23, ECF No. 62-6 (CREF Stock is discussed

“quarter over quarter”).

     Boston College submits evidence that the Committee

discussed CREF Stock and its benchmarks in 2016 to better

understand its performance.25     The Participants point to

testimony from Committee member John Burke that “to [his]


     24 The Participants imply that the meeting minutes’ lack of
detail shows a lack of discussion. Opp’n 3, 11, 13; Ex. 15
(Halpern Report) at 15 (“[T]he minutes are routinely perfunctory
regarding the merits of nearly all investment options.”). This
Court rejects those arguments. Falberg v. Goldman Sachs Grp.,
Inc., No. 19 CIV. 9910 (ER), 2022 WL 4280634, at *13 (S.D.N.Y.
Sept. 14, 2022) (rejecting plaintiffs’ arguments that the lack
of meeting minutes shows, on a motion for summary judgment, that
the discussions did not happen); see id. at *12 (stating that
plaintiff fails to cite a single case in which a fiduciary was
held imprudent for “insufficiently descriptive” meeting
minutes). Testimonial evidence alone could still be sufficient
to show a deliberate process.
     25 Ex. 1 (Martens Tr.) 75:7-15, 136:17-138:14 (confirming

that the Committee did discuss how to apply the CREF Stock
Account’s peer groups in analyzing CREF’s performance); Ex. 8
(Zona Tr.) 128:21-134:1 (recalling lengthy discussions about the
CREF Stock Account’s benchmarks and explaining that the
Committee asked questions about the CREF Stock Account’s peer
groups); Ex. 5 (Trainor Tr.) 134:9-15 (explaining that he is
“sure” the Committee examined the CREF Stock Account’s
performance in 2016); Ex. 9 (Pontiff Tr.) 110:14-21 (explaining
that the Committee “would have discussed” the CREF Stock
Account’s performance in 2016); Ex. 6 (Smith Tr.) 38:4-22
(explaining that the additional benchmark was added to help
committees review the CREF Stock Account from “difference
lenses” and in consideration of the CREF Stock Account’s unique
characteristics).
                                     [62]
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knowledge[,]” the Committee did “not specifically” discuss how

to apply the CREF Stock Account’s benchmarks in analyzing its

performance.    Ex. B (John Burke Tr.) 183:6-8.      Drawing from

this, Participants’ expert Halpern opines that the Committee was

uninformed about the CREF Stock Account’s benchmarks and did not

discuss how to apply them.     Ex. 15 (Halpern Report) at 16.

Halpern, however, does not appear to consider testimony from

Zona and Martens who did demonstrate an understanding of the

CREF Stock Account’s benchmarking and stated that the Committee

did discuss them, see supra note 25, as further confirmed by the

associated meeting minutes, Ex. 40 (Minutes, March 7, 2016, BC-

SELLERS001719, at 1719), ECF No. 62-40.       Thus, this Court does

not consider Halpern’s opinion as to whether the Committee was

informed.    Since John Burke qualifies his response with “to his

knowledge[,]” this testimony does not create a factual dispute

as to whether these benchmarks were discussed in 2016,

especially in light of overwhelming evidence showing that they

were.

        Martens indicated that sometime before June 2016, the

Committee, in performing diligence, asked Fiducient to

“investigate” the CREF Stock Account and show additional peer

groups.    Ex. 8 (Zona Tr.) 130:10-138:1; 128:21-129:17.       The QIRs

show that Fiducient added the additional peer group in late

2015, Ex. 60 at 2033, and Smith testified that Fiducient added

                                     [63]
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this additional peer group for most of its clients around this

time (and thus the change was not specific to this Committee).

RSOF ¶¶ 216, 234; Ex. H (Smith Tr.) 39:22-42:17; see also Ex. A

(Jack Burke Tr.) 184:8-11 (testifying that Fiducient selected

the peer groups).   The record shows that some Committee members

understood the CREF Stock Account’s composition, Ex. 1 (Martens

Tr.) 136:17-138:1; Ex. 8 (Zona Tr.) 128:21-134, whereas one

Committee member, Trainor, did not, Ex. D (Trainor Tr.) 137:1-6.

     The record is unclear regarding whether the Committee

discussed alternatives to the CREF Stock Account.        In 2019,

Smith emailed the Committee to discuss whether to freeze “CREF

annuities[,]” in favor of index funds; however, the email does

not specify which annuities or which alternatives he was

referring to.   Ex. 103 (Email, Feb. 15, 2019, BC-SELLERS022922,

at 2922), ECF No. 64-13.     In fact, during his deposition, Smith

was unable to identify which CREF annuities he was referring to.

Ex. H (Smith Tr.) 126:19-128:13, 129:8-131:2, 132:2-134:23.

While Smith stated that he planned to discuss the possibility of

freezing CREF annuities at the next meeting and noted that many

of his other clients have frozen some CREF annuities for

indexes, Ex. 103 at 2922, there is nothing further in the record

as to the nature of these conversations –- except vague

testimony from Committee members confirming that this was

generally discussed without providing any specifics.         Ex. 5

                                     [64]
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(Trainor Tr.) 163:18-164:10; Ex. 10 (John Burke Tr.) 169:17-21;

Ex. 6 (Smith Tr.) 126:2-17.     But see Ex. 8 (Zona Tr.) 117:8-21

(stating that these conversations included whether it was better

to use “indexing versus more active management[,]” considering

the best option for participants and costs).

     Several Committee members did not recall discussions as to

the CREF Stock Account’s “sustained underperformance” in 2020 or

2021.26   Some Committee members suggest that the CREF Stock

Account’s performance “would have” been discussed,27 or was

discussed but fail to provide any details of such discussion.28




     26 Ex. 1 (Martens Tr.) 132:17-133:12 (not recalling
discussion about the CREF Stock Account’s sustained
underperformance in 2020 but noting that performance is
subjective); id. at 144:5-17 (stating that the CREF Stock
Account was taken off of “Watch” because the Committee became
comfortable with the new manager and not recalling any
discussions about the CREF Stock Account’s performance in 2021);
Ex. A (Jack Burke Tr.) 182:3-17 (not recalling whether the CREF
Stock Account’s “sustained underperformance” was discussed); Ex.
F (Pontiff Tr.) 100:5-14, 102:8-12 (not recalling discussing the
CREF Stock Account’s “sustained underperformance” in 2020).
     27 Ex. D (Trainor Tr.) 117:4-22, 131:14-22 (saying that the

“sustained underperformance” “would have been discussed” if it
was a reason for putting CREF Stock on “Watch”); Ex. 1 (Martens
Tr.) 175:11-175:24, 176:16-24 (explaining that the Committee
“would have discussed [the CREF Stock Account’s] performance in
general” and “whether to remove the CREF stock account” in light
of a “[fund] manager change” in 2020).
     28 Ex. E (Martens Tr.) 126:9-128:3 (explaining that he does

not remember discussions as to the CREF Stock Account’s
performance in “that much detail”); Ex. B (John Burke Tr.)
140:7-16 (not recalling exactly when CREF’s performance was
discussed but stating that it was).
                                     [65]
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     The Committee did offer some reasons as to why it generally

kept the CREF Stock over the Class Period, such as its

organization, stability of its asset base, its broad market

exposure, and its reasonable performance.       Ex. 8 (Zona Tr.)

203:5-12, 127:18-128:16; Ex. 6 (Smith Tr.) 38:8-22, 182:23-

183:21.    There is no evidence in the record that Fiducient ever

specifically recommended to terminate the CREF Stock Account at

any point during the Class Period.      CSOF ¶¶ 149, 159.

                      ii. Analysis

     Participants primarily rely on Cates, Garthwait, and Tracey

in arguing that there are “significant factual disputes . . .

[that ought] preclude summary judgment” in favor of Boston

College.   Opp’n 2 n.2, 10.    Participants’ best case seems to be

Cates.    In Cates, the court denied the fiduciary’s motion for

summary judgment when there was evidence that the challenged

investment performed poorly relative to its benchmarks, the

investment’s performance failed multiple performance criteria on

an independent consultant’s investment scorecard, the challenged

investment was placed on “Watch”, there was a “sell rating” for

the investment, and another independent consultant recommended

termination of the investment from the plan’s investment lineup.

2019 WL 8955333, at *13-14.     Similar to Cates, the CREF Stock

Account failed multiple performance criteria on the consultant’s

“scorecard” (in this case, Fiducient’s watch list matrix, see

                                     [66]
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Section II.D.2.a).    Jacobs, 2023 WL 3027311, at *21 (discussing

Cates, 2019 WL 8955333, at *13-14).      Further, the challenged

investments were placed on “Watch” in Cates for “historical

underperformance”, Cates, 2019 WL 8955333, at *13, whereas here,

the CREF Stock Account was placed on “Watch” for a manager

departure and “sustained underperformance.”       RSOF ¶ 215.    Unlike

Cates, however, Fiducient never recommended to terminate the

CREF Stock Account, and there is no indication of a “sell

rating” attached to the challenged investment, as there was in

Cates.    Cates, 2019 WL 8955333, at *13-14.     Moreover, although

the Participants cite Cates for their breach claim, Opp’n 10,

12, Boston College observes that the fiduciary in Cates moved

for summary judgment on the ground of “objective prudence,” not

breach.   Reply 8 n.16.   Thus, Cates is not exactly analogous to

the case at bar.

     Tracey, cited by the Participants, is clearly inapposite,

as the fiduciaries in Tracey had no process whatsoever for

evaluating funds, despite their consultant’s recommendations to

have a process in place.     Tracey, 404 F. Supp. 3d at 362; Ex.

135 (Tracey SOF), ¶¶ 155-56; see Sacerdote, 9 F.4th at 111 (lack

of deliberative process “may be enough to demonstrate

imprudence”).   Here, the Committee did have a process in place

to monitor investments.



                                     [67]
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     Boston College’s best case is Cunningham, which was

recently affirmed by the Second Circuit.29       There are some

similarities between Cunningham and the present case.         First,

both committees reviewed and discussed the imprudent investment.

Cunningham, 2019 WL 4735876, at *14.        Both decided to retain the

CREF Stock Account despite performance concerns after assessing

its benchmarks.   Id. at *13-14 (retaining CREF Stock and noting

that its benchmarks are imperfect).      The Cunningham court found

that the committee asked questions and did not “passively”

accept its consultants’ recommendations as to the CREF Stock

Account specifically.    Cunningham, 2019 WL 4735876, at *14.

Similarly, the Committee here did generally ask Fiducient

questions in performing its diligence with respect to CREF Stock

in 2016 –- in fact, according to Zona, the Committee told

Fiducient to investigate the CREF Stock Account’s performance

earlier (or right before) the Class Period after seeing “blocks

of orange” on the QIRs.    Ex. G (Zona Tr.) 132:11-133:8, 158:19-

160:7.    Thus, there are some general similarities between

Cunningham and the case at bar.

     The record in Cunningham does appear more detailed as to

the discussions about retaining the challenged fund.         The


     29The Second Circuit affirmed Cunningham shortly before
Boston College’s motion for summary judgment went to oral
argument on November 14, 2023. Cunningham v. Cornell Univ., 86
F.4th 961 (2d Cir. 2023).
                                     [68]
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fiduciary asked questions about disruption (if alternatives were

chosen to CREF Stock), expressed concern about the CREF Stock

Account’s performance (here, it is not clear if the Committee

expressed concern in 2020 or asked Fiducient questions),

recognized a legacy concern because many participants remained

in the funds, and observed that the funds performed favorably,

were diverse, and popular among plan participants.        Cunningham,

2019 WL 4735876, at *14.

     Here, there is evidence that performance was reviewed and

discussed each quarter and, when reviewing investments, the

Committee generally considered performance, market conditions,

diversification, risk, strategy, and management.        The record is

unclear, however, as to specific discussions about the CREF

Stock Account’s performance and the pros and cons of keeping it

–- especially in 2020, when it was put on “Watch” for sustained

underperformance.   Cf. id. at *14 (some indication that the

investment was underperforming but not that it was placed on

“Watch”).   A reasonable factfinder could find that the Committee

did not follow a prudent process given the lack of specific

discussions about the CREF Stock Account’s performance after

being placed on Watch (in part) for sustained underperformance

in 2020.    While there is evidence of the Committee discussing

alternatives to CREF annuities generally in 2019, there is no

evidence in the record that the Committee considered

                                     [69]
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alternatives specifically to the CREF Stock Account in 2020,

after it was placed on “Watch.”      Cf. id. (explaining that the

fiduciary considered alternatives to the imprudent fund and this

consideration was fatal to plaintiffs’ claims).        Further,

Halpern opines that, considering the CREF Stock Account’s

performance, the Committee “should have considered some

‘alternative’ to maintaining” CREF Stock.”       Ex. 16 (Halpern

Report) 13, ECF No. 62-16; Ex. 15 (Halpern Report) at 17.

     Drawing all reasonable inferences in favor of the

Participants, and recognizing that questions of “reasonableness”

are typically resolved by the finder of fact at trial, this

Court rules that there is a genuine dispute of material fact as

to whether the Committee thoroughly discussed and analyzed

whether to retain the CREF Stock Account in 2020 and whether the

Committee actually considered alternatives to the CREF Stock

Account.

           3.   TIAA Real Estate Account

     The Court applies similar principles in evaluating whether

the Committee engaged in a prudent process in deciding to retain

the TIAA Real Estate Account.

                        a. The Parties Genuinely Dispute Whether
                           TIAA Real Estate Account Experienced
                           Underperformance During the Class
                           Period.
     The parties’ experts limn a factual dispute as to whether

it is more appropriate (in evaluating the TIAA Real Estate

                                     [70]
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Account’s performance) to compare the Real Estate Fund’s

adjusted or unadjusted returns against its benchmark, and

similarly, whether the TIAA Real Estate Account underperformed

during the Class Period.

     The Committee’s QIRs benchmarked the Real Estate Fund to

the NCREIF ODCE Index on both an absolute basis and on an

“adjusted” basis since 2018.     CSOF ¶ 163; Ex. 13 (Wermers

Report) ¶¶ 75-77; see, e.g., Ex. 92 (Q1 2018 QIR,

Fiducient_003028, at 3058), ECF No. 64-2; see also Ex. 1

(Martens Tr.) 165:7-24.    Fiducient added the adjusted basis to

account for the TIAA Real Estate Account’s liquidity restriction

-- TIAA holds 15-25% of its holdings in non-real estate liquid

investments as a part of its fund strategy.       Ex. 13 (Wermers

Report) ¶¶ 73-77; Ex. 1 (Martens Tr.) 165:7-14.        Boston College

and its expert, Wermers,30 state that comparing the TIAA Real

Estate Account to its adjusted returns is more appropriate than

its unadjusted returns, because the former “allows an investor

to assess the TIAA Real Estate Account’s performance relative to




     30Wermers criticizes Halpern for “compar[ing] the TIAA Real
Estate Account’s unadjusted returns[,]” -- “which have exposure
to non-real estate liquid investments to meet participant
redemption requests, and thus do not fully reflect fund
managers’ skill in selecting direct real estate investments” --
“to the returns of the prospectus benchmark[,]” which have no
exposure to “non-real estate liquid investments[.]” Ex. 13
(Wermers Report) ¶ 78. Wermers states that Halpern fails to
account for the Real Estate Account’s liquidity. Id.
                                     [71]
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its real estate investment strategy.”       RSOF ¶ 219-20; SOF ¶ 177;

Ex. 13 (Wermers Report) ¶¶ 78-79.      The Participants and expert

Halpern state that the more appropriate benchmark is the NCREIF

Index with unadjusted returns, because comparing it to its

“adjusted returns” is inappropriate as it “strips out the real-

world impact of [TIAA Real Estate’s] burdensome cash exposure

and the cost to participants of its liquidity guarantee.”          Ex.

16 (Halpern Report) at 9, 11.     Halpern further states that,

regardless -- even after accounting for adjusted returns -- the

TIAA Real Estate Account still lags its benchmark.        Id. at 11.

     The Participants point to a June 2016 QIR for the TIAA Real

Estate Account, “show[ing] that [it] performed below its

benchmark index, the [NCREIF Index], for every period in the

report” and “[t]he Watch List Matrix showed that the Fund scored

‘yes’ or ‘N/A’ for every performance element.”        RSOF ¶ 219; Ex.

62 at 1468-74.   Boston College states that this June 2016 QIR

failed to account for liquidity (meaning it was unadjusted).

RSOF ¶ 219.   The Participants also point to a 2022 QIR showing

that the TIAA Real Estate Account’s calendar year performance

did not exceed the unadjusted NCREIF index in any year from 2012

to 2022, RSOF ¶ 220 -- although the Court notes that there were

not dramatic deviations in returns, Ex. 89 (Q4 2022 QIR,

Fiducient_004419 at 4459).     As provided by Boston College, the

same QIR “show[ed] that the TIAA Real Estate Account’s adjusted

                                     [72]
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calendar year performance exceeded [NCREIF in four years from

2012 and 2022] and [nearly] matched it once.” See RSOF ¶ 220

(emphasis added); Ex. 89 (Q4 2022 QIR, Fiducient_004419 at 4441,

4459).    Beyond the QIRs, the experts also dispute the TIAA Real

Estate Account’s performance based on their own calculations.31

     Lastly, it is undisputed that Fiducient consistently

designated TIAA Real Estate as “Maintain” before September 2022,

and that, in September 2022, the account was placed on “Discuss”

only due to a manager change with the fund.       CSOF ¶¶ 168-69.

There is no indication in the record that Fiducient ever

recommended to specifically terminate the TIAA Real Estate

Account.    Id. ¶ 171; see also Ex. 1 (Martens Tr.) 177:7-23

(stating that TIAA was never designated as “Terminate” or put on

“Watch”).

     There are factual disputes as to the TIAA Real Estate

Account’s performance and whether the TIAA Real Estate Account’s

returns should be adjusted when comparing it to its index.


     31Wermers opines that “TIAA Real Estate Account’s five-year
and ten-year adjusted returns exceeded the returns of its
prospectus benchmark as of year-end 2015.” Ex. 13 (Wermers
Report) ¶ 79. He also claims that TIAA’s “ten-year adjusted
returns” for the TIAA Real Estate Account “continued to exceed
the returns of its prospectus benchmark” each year until 2018,
and “[i]ts one-year adjusted returns exceeded the returns of its
prospectus benchmark” twice between 2019 and 2022. Id. Halpern
opines that the Real Estate Fund’s returns lagged its primary
benchmark (NCREIF) in every time frame throughout the Class
Period. Ex. 15 (Halpern Report) at 20.


                                     [73]
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Although the TIAA Real Estate Account’s performance is relevant

for the Committee to consider in deciding whether to keep it as

an investment, it is not dispositive, because investment losses

alone are not enough to demonstrate imprudence.        Jenkins, 444

F.3d at 926; see also Bunch, 532 F. Supp. 2d at 290.

     Boston College provides some evidence that the Committee

generally discussed TIAA Real Estate throughout the Class Period

but does not provide specifics.32     Martens and Smith testified

that the TIAA Real Estate Account has a unique investment

strategy, provides direct exposure to real estate, and allows

for liquidity when needed.33      Moreover, as discussed, there is

general evidence that the Committee reviewed all investments

regularly and generally considered numerous factors in

evaluating all investments, including the performance, market




     32 Ex. 8 (Zona Tr.) 195:6-20 (not recalling whether the
Committee “singled out” TIAA for its performance and just
generally remembering the Committee’s review of TIAA Real
Estate’s performance in fall 2022); Ex. 1 (Martens Tr.) 177:7-18
(when asked whether the Committee discussed removal of TIAA in
2022 when there was a manager change, he explains that the
Committee “would have discussed the merits of keeping it”).
     33 Martens explained that the Real Estate Fund is unique

because it “offer[s] a differentiating set of returns relative
to equities or fixed income,” and that its “strategy [] is hard
to access elsewhere.” Ex. 1 (Martens Tr.) 166:18-167:1, 177:7-
18. Smith similarly explained that TIAA is unique, offers
“direct exposure real estate exposure to participant[s,]” is
“less correlated to traditional stock and bond markets[,]” is a
diversified investment, and allows for liquidity (cash when you
need it). Ex. 6 (Smith Tr.) 215:20-216:16.
                                     [74]
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conditions, diversification, risk, strategy, expenses, and

management.   See supra Section II.D.1.b.

     Halpern opines that, considering the TIAA Real Estate

Account’s performance and cash drag, the Committee should have

considered alternatives to the TIAA Real Estate Account.34

Halpern asserts that the Committee was not equipped to evaluate

the TIAA Real Estate Account and that the Committee did not

notice or discuss the Account’s cash drag.       Ex. 15 (Halpern

Report) at 22.   While Committee member John Burke did not know

what the TIAA Real Estate Account’s “adjusted returns” meant,

id. at 23; Ex. B (John Burke Tr.) 167:2-7, Martens and Smith

demonstrated an understanding of the difference between the

Account’s adjusted and non-adjusted returns, Ex. 1 (Martens Tr.)

165:2-24; Ex. 6 (Smith Tr.) 215:11–217:14.       There does not seem

to be any indication in the record that the Committee

specifically discussed this “cash drag” -- meaning the burden of

the TIAA Real Estate Account’s liquidity restriction, nor is

there evidence that the Committee specifically considered

alternatives to TIAA Real Estate at any point.


     34Halpern originally stated in his report that “the
Committee could have and should have terminated the [Real Estate
Fund].” Ex. 15 (Halpern Tr.) at 24. Halpern testified,
however, and later corrected in his second report, that he was
not necessarily opining that TIAA Real Estate Account should
have been replaced, but that the Committee failed to explore
alternatives and should have. Ex. 11 (Halpern Tr.) 117:18-
119:25, ECF No. 62-11; Ex. 16 (Halpern Report) at 13.
                                     [75]
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     The Participants’ evidence that the Committee engaged in an

imprudent process in retaining the TIAA Real Estate Account is

thin -- especially because there is much less clear evidence,

compared to the CREF Stock, that its performance should have

signaled to the Committee to conduct additional review.         Cf.

supra Section II.D.2 (CREF Stock was placed on “Watch” for

sustained underperformance, which should have signaled

additional review by the Committee).        Despite this, with all

reasonable inferences in favor of the Participants, Halpern’s

opinion that the Committee should have considered alternatives

to the TIAA Real Estate Account given its performance,35 the lack

of evidence showing that the Committee considered any

alternatives to TIAA Real Estate, and the lack of discussions

about TIAA Real Estate “cash drag” could lead a reasonable

factfinder to believe that the Committee engaged in an imprudent

process in deciding to retain the TIAA Real Estate Account.

Thus, this Court holds that Participants adduce sufficient

evidence to survive summary judgment on breach for the TIAA Real

Estate Account.




     35Halpern’s opinion that the Committee should have
considered alternatives is also generally supported by Wermers’
data on college and university plans with at least
$1,000,000,000 in assets (total of 52) showing that 27 of these
universities either terminated or froze contributions to TIAA
Real Estate from 2016 to 2023. Ex. 13 (Wermers Report) at
Exhibit 6.B.1.
                                     [76]
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            4.     The Committee’s Good Faith

     The Participants argue that Boston College “worked with

Fiducient to create a paper trail to justify their decisions,

and they cited litigation challenging the same investments and

issues in other college and university plans in doing so.”

Opp’n 18.   Boston College deems these “spurious accusations” to

be “[b]aseless.”     Reply 9.   The Participants also argue that

Boston College added benchmarks “against which the CREF Stock

Account would always look better” and manufactured the record in

light of lawsuits and to show good process.       Opp’n 3 n.4, 19;

CSOF ¶ 227.      This Court rules that no reasonable factfinder

could find that the Committee acted in bad faith, but instead

was monitoring litigation and adding additional benchmarks as a

part of its diligence efforts.

     The Participants cite to evidence that the CREF Stock

Account performed poorly relative to its peer group in 2016,

RSOF ¶ 216, and argue that an additional peer group was added to

make the CREF Stock Account look like it was performing better

than it was.36     Opp’n 3 n.4, 19; RSOF ¶ 216.    Boston College



     36Participants are referring to the Committee’s inclusion
of the Global Multi-Cap benchmark to evaluate the CREF Stock
Account. The CREF Stock Account has a 70% in domestic stock and
30% in foreign stock. Ex. 60 at 2033. Fiducient recognized
that this unique mix “create[s] some challenges when selecting
an appropriate peer universe for comparison” to the CREF Stock
Account. Id. The existing peer group “Large Core Cap” had an
88% in domestic stock and 12% in international stock. Id.
                                     [77]
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provides evidence that Fiducient added the additional peer group

in the last quarter of 2015, nearly two years before any of the

emails referencing ERISA litigations cited by the Participants

as evidence of bad faith and before the Class Period had begun.

RSOF ¶¶ 216, 226; Ex. 40 at 1719; CSOF ¶ 9 n.2.        This argument

has merit, as the first email the Participants cite as evidence

of bad faith occurred in May 2017, Opp’n 19.        The Participants

do not point to evidence that litigation was on the Committee’s

radar when Fiducient added these benchmarks.        Moreover, Smith

testified that Fiducient added this additional peer group for

most of its clients around the same time to help them better

understand CREF Stock, RSOF ¶¶ 216, 234; Ex. H (Smith Tr.)

39:22-42:17; Ex. G (Zona Tr.) 158:19-160:7, which further

supports Boston College’s argument that the Committee and

Fiducient added these benchmarks to better evaluate the CREF

Stock Account –- i.e., they did not add these additional

benchmarks in bad faith.     Finally, the Committee and Fiducient

did not even remove the benchmark that the CREF Stock Account

performed poorly against –- they just added additional




Fiducient, moving forward, added Global Multi-Cap peer group as
an additional benchmark to evaluate CREF Stock, and this new
benchmark has a mix of 53% in domestic stock and 47% in
international stock. Id.; Ex. 1 (Martens Tr.) 72:22-75:15
(explaining that CREF Stock fell between these two peer groups).
                                     [78]
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benchmarks.   See Sacerdote, 328 F. Supp. 3d at 311 (explaining

that shifting benchmarks demonstrates prudence).

     The Participants also point to emails from Smith to the

Committee in 2017 about other ERISA litigation involving the

CREF Stock Account.    In the email exchange, Committee members

asked Smith whether the Committee is required to keep the CREF

Stock Account, considering litigation liability.        Ex. 99 (May

2017 email, BC-SELLERS012410, at 2411), ECF No. 64-9.         Smith

stated that were Boston College liable for offering CREF Stock,

so would many other universities, id. at 2410, and that

Fiducient’s reporting to the Committee “solves for [the] issue”

of being liable for not properly evaluating the CREF Stock

Account’s performance by adding multiple comparison categories

to “provide the Committee with a fuller understanding of the

results [of the CREF Stock Account] versus [its] peers.”         Id. at

2410, 2413.   No reasonable juror could find that this email

shows that Boston College acted in bad faith –- it is reasonable

for a fiduciary to keep up on litigation related to its duties

as part of its diligence and Smith’s email essentially states

that they are not risking litigation liability because they

comprehensively evaluate the CREF Stock Account’s performance

using multiple benchmarks.

     The Participants point to another email from October 2018,

in which Smith stated, in reference to litigation surrounding

                                     [79]
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the CREF Stock Account and the TIAA Real Estate Account, that

the Committee is “thoughtful in regards to how unique investment

options be evaluated and how the evaluation process is

documented in the performance reports [by] . . . . includ[ing]

alternate data points in the reporting to demonstrate an

understanding of particular investment strategies . . . .”          Ex.

102 (October 2018 email, BC-SELLERS024741, at 4741), ECF No. 64-

12 (emphasis added).    Again, similar to the previous email,

Smith is simply stating that they are not at risk of litigation

because they comprehensively evaluate the CREF Stock Account and

document their process –- both of which serve as evidence of

diligence not bad faith.

     The Participants also point to the 2019 email from Smith,

in which he stated that he would bring up freezing CREF

annuities in favor of index funds at the next meeting, Ex. 103

at 2922; however, the next meeting’s minutes listed all

investments as “Maintain” and stated that all investments were

competitive, RSOF ¶ 222; Opp’n 19.      Despite Participants’

arguments that the Committee purposely “omitted negative

information from the formal record” to avoid future litigation,

Opp’n 19, the lack of detail in the meeting minutes does not

demonstrate bad faith.    The record shows that meeting minutes

were intended to be high-level summaries of important topics

discussed.   Ex. H (Smith Tr.) 56:1-8.      Moreover, insufficiently

                                     [80]
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descriptive meeting minutes, alone, are not enough to

demonstrate imprudence.    See supra note 24.     Lastly, the

governing IPS only requires the Committee to document changes to

investment lineups, see infra Section II.E. -- here, the

Participants complain of not documenting discussions about

possibly freezing CREF annuities.

     In 2020, Smith wrote to the Committee that “[i]n light of

changes to TIAA product, lawsuit and to show good process we are

going to again show an active versus passive target date fund

comparison at this quarter’s meeting.”       Ex. T (Smith Email, BC-

SELLERS023239, at 3240), ECF No. 71-20 (emphasis added).         Again,

while the Participants argue that this reference to showing

“good process” demonstrates bad faith, Smith is essentially

saying that they are going to perform more diligence in light of

potential litigation risks associated with its investments.

     Lastly, the Participants suggest that the Committee’s

tracking of ERISA litigations show the Committee’s motives for

creating a paper trail for litigation.       CSOF ¶ 80; Opp’n 18-20.

In reference to the litigation tracking, Boston College offers

testimony from Committee member Zona that he keeps apprised of

litigation as a part of “due diligence” in improving the

Committee’s process and in order to keep apprised on what was

happening in the industry.     Ex. G (Zona Tr.) 298:1-20, 300:24-

301:17.   Moreover, Zona specifically said that ERISA litigations

                                     [81]
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were not discussed when the CREF Stock Account’s additional peer

group was added, id. at 158:14-18, and that he could not recall

a single instance in which the Committee suggested a change to

its process due to litigation, id. at 301:21-302:22.         Lastly,

Boston College points out that the Participants alleged in their

Complaint that the Committee acted imprudently by ignoring these

lawsuits, Reply 9 n.18; Compl. ¶ 83 (“Defendants breached their

duties because they ignored multiple red flags about TIAA and

Fidelity, including court decisions concluding that specific

investments in the Plans were imprudent.”), and now they argue

that considering these lawsuits shows bad faith.        Again, and as

the Participants indirectly recognize in their Complaint, it is

not nefarious for the Committee to track litigation as part of

the diligence efforts –- if anything, this demonstrates that the

Committee performed additional diligence by learning from the

potential imprudence of other similarly-situated fiduciaries.

     Even with all reasonable inferences in favor of the

Participants, the Committee’s bad faith is not genuinely

disputed.   No reasonable juror could find that adding additional

benchmarks to better understand the CREF Stock Account,

documenting its evaluation process, and tracking litigation

relevant to the Committee’s duties under ERISA demonstrate bad

faith –- to the contrary, this all shows the Committee and



                                     [82]
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Fiducient’s diligence.    Thus, this Court holds no reasonable

juror could find that Boston College acted in bad faith.

     E.      Boston College Did Not Violate the Plans’ Documents.

     ERISA Section 404(a)(1)(D) provides: “[A] fiduciary shall

discharge his duties with respect to a plan solely in the

interest of the participants and beneficiaries and -- in

accordance with the documents and instruments governing the plan

insofar as such documents and instruments are consistent with

the provisions of this subchapter and subchapter III.”         29

U.S.C. § 1104.

     The IPS states that “the Committee . . . may establish a

probationary period [for any investment] during which any area

of concern will be assessed, and if necessary, corrected.”          CSOF

¶ 69 (emphasis added).    It also states that “[c]hanges to the

investment options available to participants will be made at the

sole discretion of the Committee, which shall document its

analysis and decisions in the Committee minutes.”        Ex. 22

(Investment Policy Statement, BC-SELLERS005481, at 5483), ECF

No. 62-22 (emphasis added).

     The Participants allege that Boston College's conduct

constitutes a breach of their duty to act in accordance with the

documents and instruments governing the plan, in violation of

ERISA Section 404(a)(1)(D), 29 U.S.C. § 1104(a)(1)(D).         Compl.

¶¶ 119-21.    Specifically, the Participants argue that the

                                     [83]
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Committee failed to follow the “investments’ performance

objectives and to document [its] conclusions.”        Opp’n 14.    The

Participants contest Boston College’s argument that the

Committee was only required “to document items in the minutes if

an investment were changed[,]” arguing that the Committee was

obligated to document decisions even when it considered

alternatives but did not make changes to the investment lineup.

Id. at 14 n.13.    The Participants posit that Investment Policy

Statement should not be treated like a “dead letter.”         Id. at

13.37

        Boston College argues that there is no genuine issue of

disputed material fact regarding whether it complied with the

Plan documents and that it is entitled to a finding of prudence

on Count III as matter of law.     Mem. 13.    Specifically, Boston




       The Participants submit Halpern’s opinion that the
        37

Committee’s actions with respect to the TIAA Real Estate Account
“appear[] contrary to” the Investment Policy Statement, and the
Committee’s alleged “failure to carefully scrutinize the [CREF
Stock Account]” “departed from” the Investment Policy Statement.
Ex. 15 (Halpern Report) at 14, 23; CSOF ¶ 189. The Court does
not consider Halpern’s opinion on the Investment Policy
Statement as creating an issue of material fact, as it is
conclusory. Further, Halpern fails to outright state that the
Investment Policy Statement was violated, instead using words
like “appears contrary to” and “departed from.” Ex. 15 (Halpern
Report) at 14, 23; CSOF ¶ 189. Lastly, the Participants
themselves admit that the IPS’ requirements pose questions of
law. CSOF ¶ 69 (identifying Boston College’s statement that
“the [Investment Policy Statement] does not require the
Committee to put investments on a watch list or consider them
for termination” as a legal conclusion).
                                     [84]
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College argues that the Investment Policy Statement gave the

Committee discretion in whether it should establish a

probationary period, does not require particular monitoring, and

does not require any particular monitoring criteria.         Id.; see

Ex. 22 at 5483 (stating that “general criteria may include”

before listing criteria (emphasis added)).

        This Court agrees with Boston College.    The plain language

of the IPS does not require the Committee to use certain

monitoring criteria and gives the Committee significant

discretion in whether to change investments.        See Ex. 22 at

5483.    With respect to Participants’ claims about documentation,

this Court rules that the IPS only mandates documentation, as

per the term “shall,” when investment changes are made.         Id.

Participants do not point to any record evidence showing that a

change was made to the investments and went undocumented.          Thus,

this Court GRANTS Boston College’s motion for summary judgment

on the alleged failure to comply with plan documents.

        F.   Although Participants Show Loss on the Recordkeeping
             Fees Claim from 2019 to Present, They Fail to Show
             Loss from 2016 to 2018. Although Participants Show
             Loss for the CREF Stock Account, They Fail to Show
             Loss for the TIAA Real Estate Account. Boston College
             Fails to Meet its Burden in Establishing that the
             Committee’s Decisions Were Objectively Prudent.

        Boston College also moves for summary judgment on the

ground that the Participants did not “establish loss” by failing

to offer any “evidence purporting to quantify a loss or any

                                     [85]
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supposed damages.”    Mem. 1.   Boston College also argues that the

Plans’ fees and the challenged investments “were objectively

prudent as a matter of law[,]” because these investments were

“widely used by comparable plans[,]” and that its fees were

“objectively reasonable” compared to comparable plans offering

similar services.    Id. at 1, 14.38

     The Participants admit that neither of their experts

“attempted to calculate whether the Plans suffered any loss

associated with conduct alleged in the complaint.”        CSOF ¶ 180.

The Participants instead rebut that their experts “provided data

that suffice to show [Boston College’s] conduct caused the Plans

and their participant losses, even if they did not calculate

[those] losses.”    Id.




     38In their post-hearing response on the issue of loss, the
Participants argue that Boston College never moved for summary
judgment on the issue of causation (i.e., objective prudence).
Supp. Response Loss 1-2 (arguing that, because the headings,
opening sentence, and closing sentence of Boston College’s
motion for summary judgment refer only to the Participants’
failure to establish loss, Boston College never moved for
summary judgment on causation). This Court disagrees with the
Participants’ characterization of Boston College’s motion.
Although both parties did lump their analyses of loss and loss
causation together in their initial briefs, Boston College did -
- in addition to loss -- move for summary judgment on the ground
of “objective[e] prudenc[e][,]” citing Brotherston and adopting
its terminology for loss causation. Mem. 1, 13-14; Brotherston,
907 F.3d at 39 (“[O]nce an ERISA plaintiff has shown a breach of
fiduciary duty and loss to the plan, the burden shifts to the
fiduciary to prove that such loss was not caused by its breach,
that is, to prove that the resulting investment decision was
objectively prudent.” (emphasis added)).
                                     [86]
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     This Court rules that although the Participants show loss

on the Recordkeeping Fees Claim from 2019 to present, they fail

to show loss from 2016 to 2018.      Boston College fails to show

that its decision with respect to the Recordkeeping Fees is

objectively prudent as matter of law.       This Court also holds

that although the Participants show loss for the CREF Stock

Account, they fail to show loss for the TIAA Real Estate

Account.   Boston College fails to show that the Committee’s

decision to retain CREF Stock was objectively prudent as matter

of law.

           1.   General Principles Relevant to Loss or Objective
                Prudence

                        a. Loss
     Fiduciaries acting in violation of ERISA’s duty of prudence

standards must “make good to [the] plan any losses to the plan

resulting from [the] breach.”     29 U.S.C. §§ 1109(a).      Courts may

also award “other equitable or remedial relief as the court may

deem appropriate” for ERISA violations.       Id.

     The burden is on the plaintiff to show “a loss associated

with the fiduciary’s breach.”     Brotherston, 907 F.3d at 36, 39.

“Losses to a plan from breaches of the duty of prudence may be

ascertained, with the help of expert analysis, by comparing the

performance of the imprudent investments with the performance of

a prudently invested portfolio.”      Evans v. Akers, 534 F.3d 65,

74 (1st Cir. 2008); see also Cunningham, 86 F.4th at 961

                                     [87]
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(“Losses are measured by the difference between the plan's

actual performance and how the plan would have performed if the

funds had been [operated] like other funds being [properly

operated] during the same period.” (quoting Trustees of Upstate

N.Y. Eng'rs Pension Fund v. Ivy Asset Mgmt., 843 F.3d 561, 567

(2d Cir. 2016))).

                b.    Objective Prudence
     Once plaintiffs show both breach and loss, the fiduciary

has the burden to disprove causation by showing that the

“resulting investment decision was objectively prudent.”

Brotherston, 907 F.3d at 39; see id. at 34 (“Even if a trustee

failed to conduct an investigation before making a decision, he

is insulated from liability if a hypothetical prudent fiduciary

would have made the same decision anyway.” (quoting Roth v.

Sawyer-Cleator Lumber Co., 16 F.3d 915, 919 (8th Cir. 1994)

(emphasis added))); id. at 39 (framing causation as “whether

[defendants] can meet its burden of showing that the loss most

likely would have occurred even if [defendants] [acted]

prudent[ly] in [their] selection and monitoring procedures”);

see Tatum v. RJR Pension Inv. Comm., 761 F.3d 346, 366 (4th Cir.

2014) (“When a plaintiff has established a fiduciary breach and

a loss, courts tend to conclude that the breaching fiduciary was

liable.”).   A fiduciary shows objective prudence when it

provides evidence that a prudent fiduciary “would” have rather


                                     [88]
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than “could” have made the same decision.       Tatum, 761 F.3d at

365 (emphasizing that this distinction is legally significant,

as “‘could’ describes what is merely possible, while ‘would’

describes what is probable” (citing Knight v. Commissioner, 552

U.S. 181, 187–88, 192, (2008))); see also Brotherston, 907 F.3d

at 35-36 (adopting the same ERISA burden-shifting approach as

the Fourth Circuit).

     This Court emphasizes that Boston College has a heavy

burden in disproving loss causation on summary judgment.         When

the moving party also bears the burden at trial, as is the case

here with respect to objective prudence, its burden of proof

includes “producing incontrovertible prima facie evidence of its

claims.”   Atlantic Specialty Ins. Co., 480 F. Supp. 3d at 329

(citing Celotex Corp., 477 U.S. at 331).       If the movant does so,

then the nonmovant must set forth specific facts sufficient to

establish a genuine issue for trial.        Matsushita Elec. Indus.

Co., 475 U.S. at 586–87.

           2.   Participants Fail to Show Loss from 2016 to 2018
                for the Recordkeeping Fees Claim but Do Show Loss
                for the Fees from 2019 to 2023. Boston College
                Fails to Show the Fees Were Objectively Prudent
                as Matter of Law.

                        a. Loss
     Boston College asserts that the Participants failed to

prove loss and thus moves for summary judgment on the

Participants’ recordkeeping claims.      Mem. 14.    It is undisputed


                                     [89]
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that Minnich did not specifically calculate loss based on the

allegedly excessive fees, CSOF ¶ 180; however, as discussed

infra Section II.F.3.a.i, the Participants do not need to

calculate loss to show loss.       Boston College argues that Minnich

failed to show that the Plans’ fees were unreasonable “relative

to similar services provided to similarly situated plans.”            Mem.

14.   Further, Boston College argues that the Participants fail

to “identif[y] any other plan—much less a range of similarly-

situated university plans—with similar participation levels or

comparable services to the Plans that paid Minnich’s

‘reasonable’ fee during the Class Period.”         Id.   The

Participants argue that Minnich showed that a reasonable fee

would have been $50 (from 2016-2018) and $31 (2019 to present),

which is lower than the Plans’ fees during that time and

sufficiently establishes loss.       Opp’n 15.

      The Participants need to show “there was a ‘prudent

alternative’ to the allegedly imprudent fees paid” to survive on

summary judgment.     Cunningham, 86 F.4th at 982.       The

Participants do not need to show that its alternative fee ranges

“were the only plausible or prudent ones,” because that would

improperly place the burden of loss causation on the

Participants.     Sacerdote, 9 F.4th at 113 (internal quotation

marks and citations omitted).       In Cunningham, the court excluded

Minnich’s opinion regarding loss for the recordkeeper fees claim

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because of deficiencies in Minnich’s methodology -- Minnich

appeared to base his reasonable fee on his “experience” without

explaining why his reasonable fee was “reasonable in light of

any features of the Plans.”39     Cunningham, 86 F.4th at 982;

Cunningham, 2019 WL 4735876, at *9.      Similarly, the court in

Huang adopted the reasoning in Cunningham, finding unreliable an

expert opinion who relied on “his experience” to determine a

reasonable fee, did not identify a single plan with his

reasonable fee, and did not explain why he picked certain

comparator plans (which were “not comparable in size or type to

the [p]lan”).   Huang, 2023 WL 3092626, at *8-10.       To the extent

the expert just “considered” these comparator plans, the Huang

court held that was “insufficient to constitute a reliable

methodology.”   Id. at 10.

     Similarly here, as Boston College notes, Minnich does not

appear to give any indication (aside from “experience”)40 as to


     39 The Cunningham court found that Minnich failed to explain
how he reached his “reasonable fee[,]” because Minnich “simply
referenc[ed] [his] knowledge of the relevant industry” and
provided “a few examples of other university plans that paid
lower fees” but failed to “explain[] how these putative
comparators were selected.” Cunningham, 86 F.4th at 982. This
is similar to Minnich’s methodology here for the period before
the 2018 RFP.
     40 Minnich writes in his report for this case that he

establishes the $50 fee based on his “30 years of experience,
including significant experience providing pricing information
in response to RFP for 403(b)/402(k) plans . . . . .” Ex. 17
(Minnich Report) at 22. Gissiner shows that this $50 could not
be based on Minnich’s experience, as Minnich charged higher fees
                                     [91]
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how he came up with a reasonable fee of $50 from 2016 to 2018.

Minnich references several comparator plans (with much larger

participant counts) and a survey from 2021 in his report, and

Minnich also states that he considers ancillary revenue,

participant count, and enhanced services in determining what is

a reasonable fee.   See generally Ex. 17 (Minnich Report); Ex. 18

(Minnich Report); CSOF ¶ 204.     There is no indication as to how

he applies any methodology to calculate a reasonable fee of $50

from 2016 to 2018, and Minnich was unable to identify any plan

with a $50 recordkeeping fee during the same time period, Ex. 4

(Minnich Tr.) 271:23-272:3.     Thus, this Court finds and rules

inadmissible Minnich’s opinion that $50 is a prudent fee from

2016 and 2018, because he fails to show how his “experience” led

to his calculation of the reasonable fee.       Accordingly, this

Court holds, as matter of law, that the Participants fail to

show loss from 2016 to 2018 and thus their duty-of-prudence

claim fails for that time period.      See Troudt, 2019 WL 1006019,

at *9 (finding plaintiffs provided no evidence of loss when

plaintiffs’ only evidence was its expert opining on what a

reasonable fee would be, which was struck by the court).

     Minnich identifies $31 (a number that comes directly from

the 2018 RFP) as a reasonable fee for both Plans, which, the



when working at Transamerica.     Ex. 12 (Gissiner Report) ¶ 210,
fig.4.
                                     [92]
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Participants observe, establishes the “market baseline for the

Plans.”   Supp. Loss 5; Opp’n 15.     To the extent that Boston

College argues that Minnich fails to show that the fees paid

were excessive relative to the services rendered,41 the Court

notes that the $31 bid was tailored to the Plan and came from

Fidelity, an incumbent recordkeeper, CSOF ¶ 212.42        To the extent

that Boston College attacks the $31 fee by pointing out that

Minnich did not compare the Plans’ fees to those plans that

choose to not consolidate to a single recordkeeper, id. ¶ 213,

this Court rejects those arguments -- the Participants need only

to identify a prudent alternative -- they do not need to prove




     41 Boston College cites case law supporting that the
Participants must show that the fees were excessive relative to
the services offered by the Plans’ recordkeepers. See Young,
325 F. App'x at 33 (2d Cir. 2009); see also Wehner v. Genentech,
Inc., 2021 WL 507599, at *5 (N.D. Cal. Feb. 9, 2021) (stating on
a motion to dismiss that “a plaintiff must plead [fees] that are
excessive in relation to the specific services the recordkeeper
provided to the specific plan at issue”).
     42 See CSOF ¶ 105 (parties agreeing that TIAA and Fidelity’s

bids included “non-core recordkeeping services for which the
other candidates would charge additional fees, including the
provision of a consolidated fee disclosure services”); id. ¶ 106
(explaining that TIAA and Fidelity “waived contract termination
fees, while Empower did not, and they provided five-year fee
guarantees, while Vanguard and Empower only offered three-year
fee guarantees”). Boston College provides evidence that the
Committee considered services (among other factors) in deciding
to stick with its incumbent recordkeepers. Ex. 48 (2018 Meeting
Minutes).
                                     [93]
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that its fee is the only prudent alternative.        Sacerdote, 9

F.4th at 113.43

     Thus, the Participants successfully identify a prudent

alternative and, with all reasonable inferences in favor of the

Participants, this Court holds that they meet their burden of

showing loss for the fees after the 2018 RFP.

                  b.   Objective Prudence
     Although the Participants survive on breach and loss for

the fees after 2019, Boston College can still succeed on its

motion for summary judgment if it can meet its high burden in

showing incontrovertible evidence that the fees were objectively

prudent as matter of law.     This is because the burden of

persuasion now shifts to Boston College.       Brotherston, 907 F.3d

at 39 (“[O]nce an ERISA plaintiff has shown a breach of

fiduciary duty and loss to the plan, the burden shifts to the

fiduciary to prove that such loss was not caused by its breach,

that is, to prove that the resulting investment decision was

objectively prudent.”).

     Boston College has the burden of proving that the loss

would most likely have occurred even if it had acted prudently;


     43For example, if the Participants prove that it was
imprudent to pay $100 in fees, but prudent to pay $10, they
would not have to prove that it would also be imprudent to pay
$11 to $99 to show its burden on loss. Sacerdote, 9 F.4th at
113-14. The burden to show that a fee between $11 to $99 would
also be prudent would rest with Boston College in disproving
loss causation. Id.
                                     [94]
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in other words, that a hypothetical prudent fiduciary would

have, rather than could have, made the same decision regarding

fees.    Boston College fails to clear this high hurdle.

        Boston College submits evidence that some similarly

situated fiduciaries use multiple recordkeepers.          Gissiner

explained that university plans commonly have multiple

recordkeepers -- one recordkeeper for annuities and another for

mutual funds.     Ex. 12 (Gissiner Report) ¶¶ 23, 29.       Gissiner

sets forth data demonstrating that of the top 40 universities

with assets over $500,000,000 (a total of 28 universities), 12

have a single recordkeeper (without “frozen” providers) and 14

use multiple recordkeepers for their active investments.           Id. ¶

32.   The remaining 2 selected a single recordkeeper for future

contributions, but still have legacy assets retained by TIAA.

Id.   Thus, 14 opted to use a single recordkeeper and 14 opted to

use multiple recordkeepers.       While this data shows that a

hypothetically prudent fiduciary could have opted not to

consolidate the plans, it does not serve as incontrovertible

evidence that a hypothetically prudent fiduciary would have

chosen not to consolidate the plans.

        There is additional evidence in the record that casts doubt

on whether a hypothetically prudent fiduciary would have made

such a decision.     Minnich opines that it is best practice to

consolidate plans, Ex. 17 (Minnich Report) at 10-12, although he

                                       [95]
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does concede that it is not always unreasonable or a less than

best practice to maintain multiple recordkeepers, Ex. 4 (Minnich

Tr.) 151:13-152:1.    A consulting group in 2016 reported to the

Committee that “[m]aintaining two [] [p]lans is a more complex

design than plans offered at most colleges and universities[,]”

Ex. M (Sibson Summary Response, BC-SELLERS021214, at 1221), ECF

No. 71-13, and Fiducient advised the Committee to consider

consolidation as early as 2016. Ex. Q at 1151.

     Fiducient’s benchmarking showed that the Plans’ fees were

competitive and comparable to similarly sized plans with similar

assets and participation.     Mem. 17; Ex. 12 (Gissiner Report) at

Exhibit 7A; id. at Exhibit 7B.     The Participants do not rebut

Fiducient’s benchmarking.     Minnich, however, does both opine

that moving to a single recordkeeper is a best fiduciary

practice, as it allows the plan to maximize its bargaining

power, and points out the inefficiencies in multi-recordkeeper

plans.   Ex. 17 (Minnich Report) at 10.      Thus, if the plans had

consolidated, it is possible that the Committee could have

secured even further reductions in fees for its participants

throughout the Class Period.

     Boston College submits evidence that TIAA and Fidelity were

popular among university clients.      Ex. 71 at 1099 (showing that

TIAA had 5,745 clients, Transamerica had 238, Vanguard had 31,

Empower had 382, and Fidelity had 762).       Of the top 40

                                     [96]
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universities with assets over $500,000,000 (a total of 28 plans

and looking at plans with both single and multiple

recordkeepers), 26 plans44 list TIAA as a recordkeeper and 15

list Fidelity as a recordkeeper.      Ex. 12 (Gissiner Report) at

Exhibit 1; Ex. 4 (Minnich Tr.) 202:3-10, 194:8-196:2 (conceding

that TIAA dominates the higher-education market); see also Ex.

18 (Minnich Report) at 5 (confirming popularity of TIAA among

university clients).    Among these 28 plans, 13 retained both

Fidelity and TIAA as recordkeepers.      Again, while this may show

that the hypothetical prudent fiduciary could have made the same

decision (to keep both TIAA and Fidelity), it does not show that

a hypothetical prudent fiduciary would have as matter of law.

     Gissiner compares Plan I’s fees to those “charged by TIAA

to other college or university plans with counts of participants

between 2,600 and 5,000 in single-vendor arrangements each year

between 2017 and 2023.”    CSOF ¶ 30; Ex. 12 (Gissiner Report) ¶¶

146-49, Ex. 8A.   Gissiner shows that Plan I’s fees were lower

than the average fees of these plans.       Ex. 12 (Gissiner Report)

¶¶ 146-49.   The Participants point out, however, that Gissiner


     44Although Gissiner’s report does say that all of these
universities had TIAA as a recordkeeper, Ex. 12 (Gissiner
Report) at Exhibit 1, the Court does not include the University
of Notre Dame and Vanderbilt University because –- although they
have “legacy assets” with TIAA -- they both selected a single
recordkeeper for future contributions. Id. ¶ 32. Both
universities consolidated under Fidelity. Id. ¶¶ 24 n.31, 44
n.82.
                                     [97]
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relies on too few comparators in making this assessment.45         For

Plan II, Gissiner similarly provides evidence that Plan II’s

fees “were either below or consistent with the median fees

charged to all university plans of between 1,000 and 10,000

participants every year between 2016 and 2023,” including both

single and multi-recordkeeping plans.       CSOF ¶ 42; Ex. 12

(Gissiner Report) ¶¶ 146-49, Ex. 8A.        The Participants, however,

similarly point out that these calculations rely on too few

comparators.   CSOF ¶ 42.46   A reasonable factfinder would not be

required to rely on this data given the minimal comparators

provided.

     While Boston College does provide compelling evidence that

a hypothetically prudent fiduciary would have made the same

choice –- to retain both TIAA and Fidelity as recordkeepers -- ,

drawing all reasonable inferences in favor of the Participants,

and because Boston College has the burden of persuasion on this

issue, this Court rules that Boston College fails to meet its

heavy burden of proof under ERISA on disproving causation.




     45 From 2017 to 2023, the number of TIAA comparator plans is
as follows: 1, 2, 4, 6, 2, 7, and 13. Ex. 12 (Gissiner Report)
at Exhibit 8A.
     46 From 2017 to 2023, the number of Fidelity comparator

plans are as follows: 5, 13, 20, 18, 12, 11, 6, and 4. Ex. 12
(Gissiner Report) at Exhibit 8C.
                                     [98]
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          3.    While Participants Show Loss for the CREF Stock
                Account, Participants Fail to Show Loss for the
                TIAA Real Estate Account. Boston College Fails
                to Show that Retaining the CREF Stock Account Was
                Objectively Prudent as Matter of Law.

                        a. Loss
     Boston College asserts that the Participants’ expert

Halpern did not “attempt[] to calculate a loss and that he is

not offering any damages calculations.”       Mem. 17.   The

Participants concede that Halpern does not calculate loss, CSOF

¶ 180, but argue that Halpern’s “ample discussion of better-

performing alternatives” is sufficient in showing a genuine

dispute of material fact on loss.      Supp. Loss 4 n.1.

     This Court holds that while the Participants fail to show

loss with respect to the TIAA Real Estate Account, Participants

do show sufficient loss to survive on summary judgment for the

CREF Stock Account.

                        i. Participants Were Not Required to
                           Calculate Loss to Show Loss.

     As set forth in Brotherston, the Participants have the

burden of showing loss, and Boston College has the burden of

disproving loss causation.     Brotherston, 907 F.3d at 39.      Other

courts have cautioned against conflating loss and damages.           See,

e.g., Sacerdote, 9 F.4th at 112.      The parties disagree on

whether the Participants needed to calculate loss to show loss.

This question is not directly addressed by Brotherston.         In

Brotherston, the court ruled that the plaintiffs’ expert’s

                                     [99]
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approach for showing loss was not “inadequate as a matter of

law” when the expert “calculated which funds generated a loss

relative to a benchmark.”    Brotherston, 907 F.3d at 33-34

(emphasis added).   The court further stated:

           [T]o determine whether there was a loss, it is
     reasonable to compare the actual returns on that
     portfolio to the returns that would have been
     generated by a portfolio of benchmark funds or indexes
     comparable but for the fact that they do not claim to
     be able to pick winners and losers, or charge for
     doing so. Restatement (Third) of Trusts, § 100 cmt.
     b(1) (loss determinations can be based on returns of
     suitable index mutual funds or market
     indexes); cf. Evans v. Akers, 534 F.3d 65, 74 (1st
     Cir. 2008) (“Losses to a plan from breaches of the
     duty of prudence may be ascertained, with the help of
     expert analysis, by comparing the performance of the
     imprudent investments with the performance of a
     prudently invested portfolio.”).

Id. at 34.   While the expert in Brotherston did provide

calculations of loss and explained his methodology for

calculating loss, Brotherston does not appear to foreclose the

possibility of showing loss without providing calculations (for

instance, it allows for comparing return rates).        Id. at 32-33.

Moreover, Brotherston recognized that the text of ERISA is

broad, expressing “Congress's clear intent ‘to provide the

courts with broad remedies for redressing the interests of

participants and beneficiaries when they have been adversely

affected by breaches of fiduciary duty.’”       Id. at 31 (quoting

Eaves v. Penn, 587 F.2d 453, 462 (10th Cir. 1978)).        Thus,

Brotherston supports Participants’ method of showing loss.

                                   [100]
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     This Court has previously stated that, while defendants

have the burden on proving causation under Brotherston, “[t]he

plaintiff still bears the burden of showing the existence and

extent of the alleged loss.”     Moitoso, 451 F. Supp. 3d at 210;

see id. at 220 (reiterating that the plaintiffs must prove the

“exact extent of losses” at trial).      Here, the Participants can

still show the extent and existence of loss through comparing

return rates -- the greater the difference in returns rates, the

greater the extent of the loss.     Moreover, this Court observes

that several courts have discussed ascertaining more precise

“calculations” or “amounts” of harm in the context of

calculating damages (as to which defendants have the burden

under Brotherston), in contrast to terms like “compare” or

“show” in the context of loss.47


     47See, e.g., Ramos v. Banner Health, 461 F. Supp. 3d 1067
(D. Colo. 2020), aff'd, 1 F.4th 769 (10th Cir. 2021) (“If a
plaintiff proves both a breach of a fiduciary duty, as well as
loss causation, but fails to present a viable calculation of
loss, a prevailing plaintiff may still recover losses to the
Plan.”); Sacerdote, 9 F.4th at 112 (“The question of how much
money should be awarded to the plaintiffs in damages is distinct
from, and subsequent to, whether they have shown a loss.”
(emphasis added)); Tatum, 761 F.3d at 362–63 (ruling the lower
court erred when it placed the burden on plaintiffs to show
“what, if any, damages were attributable to that breach”);
Secretary of U.S. Dept. of Labor v. Gilley, 290 F.3d 827, 830
(6th Cir. 2002) (holding that “ambiguity in determining the
amount of loss in an ERISA action . . . should be resolved
against the breaching fiduciary” and seemingly using the phrase
loss and damages interchangeably); Evans, 534 F.3d at 74
(explaining that plaintiff can “ascertain[]” losses by
“comparing the performance[s]”). Brotherston itself refers to
                                   [101]
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     This Court holds that “comparing” return rates of the

allegedly imprudent fund to a prudent alternative is sufficient

for the Participants to survive summary judgment and that the

Participants did not need specifically to calculate loss.

                      ii. A Reasonable Factfinder Could Find that
                          an Alternative Decision Should Have
                          Been Made with Respect to the CREF
                          Stock Account in 2020, but that
                          Participants Fail to Adduce Evidence of
                          When an Alternative Decision Should
                          Have Been Made with Respect to the TIAA
                          Real Estate Account.

     Boston College states that the Participants failed to show

loss because their expert Halpern did not opine on when the

breach occurred, what prudent action the Committee ought have

taken (freeze, terminate, or replace), and what alternative

investment the Committee should have chosen.       Supp. Loss 3-4.

The Participants admit that Halpern did not opine on when the

Committee should have terminated or frozen the challenged

investments, as Halpern opines only that the Committee should

have considered alternatives to maintaining the challenged

investments.   CSOF ¶¶ 188-90.    While Halpern’s opinion that the

Committee should have considered alternatives relates to breach

(process failure) rather than loss, Halpern shows loss by

including the difference in performance between the challenged



“loss calculation[,]” but also uses the phrases “show loss” and
that “to determine whether there was a loss, it is reasonable to
compare the actual returns.” Brotherston, 907 F.2d at 34.
                                   [102]
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funds and alternatives.    Tr. Mot. Hearing 10:3-14, 12:1-8, ECF

No. 100.    Still, the record must allow a reasonable factfinder

to identify when an alternative decision ought have been made

for purposes of showing loss.     See Ellis, 257 F. Supp. 3d at 130

(finding for the fiduciary when plaintiffs entirely failed to

“point to a specific moment when [the fiduciary] should have

made a different decision” and instead “vaguely challenge the

Portfolio's overall structure without reference to any specific

events”).

     With respect to the CREF Stock Account, the Court can only

identify one instance in which a reasonable factfinder could

have concluded that an alternative decision ought have been

made: when Fiducient placed the CREF Stock Account on “Watch”

for sustained underperformance in 2020.48      A reasonable

factfinder could find that the CREF Stock Account ought have

been terminated or frozen in 2020.      Although Halpern shows loss




     48While the Participants posit that the blocks of orange in
2016 indicate that the CREF Stock Account was underperforming,
Fiducient explained –- and the Committee discussed -- that the
CREF Stock Account’s benchmark was imperfect: the CREF Stock
Account’s unique composition makes it difficult to “select[] an
appropriate peer universe for comparison.” Ex. 60 at 2033; see
also Ex. 40 at 1719 (meeting minutes explaining that the
Committee “discussed the nuances with assigning benchmarks and
peer groups for some of the Plan’s more unique options[,]” such
as the CREF Stock Account). The relevant QIR shows that CREF
Stock was only performing poorly relative to one benchmark,
performed well relative to its two other benchmarks, and that
the Committee kept it on “Maintain” status. Ex. 62 at 1468.
                                   [103]
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by assuming that the CREF Stock Account was terminated in 2016

or 2017, Ex. 15 (Halpern Report) at 18 (comparing the CREF Stock

Account’s average annual returns over 5 years ending in 2022 and

terminating in 2016 or 2017), a reasonable factfinder could

still find that the Participants suffered losses by the

Committee’s failure to terminate or freeze the fund in 2020.

According to Halpern’s report, the CREF Stock Account’s return

rates show that it performed worse than its alternative.49

     With respect to the TIAA Real Estate Account, Halpern

similarly opines that the Committee ought have considered

alternatives, but does not opine that TIAA Real Estate should

have been terminated.    Ex. 11 (Halpern Tr.) 117:18-119:25; Ex.

16 (Halpern Report) at 13.    Halpern also does not identify when

an alternative decision with respect to the TIAA Real Estate

Account ought have been made.     CSOF ¶¶ 188-90.    Unlike the CREF

Stock Account, there is no specific event (like Fiducient’s

placement of the CREF Stock Account on “Watch” for “sustained

underperformance”) from which a reasonable factfinder could

conclude that an alternative decision ought have been made.

Thus, this Court holds that the Participants fail to show loss

for the TIAA Real Estate Account as matter of law.




     49The Court must also determine whether this alternative
was unsuitable as matter of law, discussed infra.
                                   [104]
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                      iii. CREF Index Fund Was a Suitable
                           Alternative to the CREF Stock Account
                           for Purposes of Showing Loss on Summary
                           Judgment.

     The parties further dispute whether the Participants had

to, under Brotherston, identify a “suitable” alternative to the

CREF Stock Account to show loss, and whether Boston College

showed, as matter of law, that the Participants failed to

identify a “suitable” alternative to the CREF Stock Account.50

     Boston College argues that the CREF Index Fund is an “inapt

comparator[]” to the CREF Stock Account because they differ in

terms of “risk, investment strategy, and financial

characteristics[.]”    Mot. Exclude Halpern 2.     The Participants

state that Halpern shows loss by pointing to “specific

benchmarks and pricing data” which shows the “specific returns

for those funds for those periods[.]”      Supp. Loss 3.    The

Participants further argue that Halpern need not point to

specific investment alternatives or calculate damages, and that

regardless, as per Brotherston, “whether or not Mr. Halpern




     50This issue is more fully explored in the parties’ Daubert
motion briefing. The parties refer to these Daubert briefs in
their summary judgment materials. Mem. Supp. Defs.’ Mot.
Exclude Opinions of Pls.’ Expert Samuel Halpern (“Mot. Exclude
Halpern”) 10, ECF No. 55; Pls.’ Opp’n Defs.’ Mot. Exclude Pls.’
Expert Samuel Halpern (“Opp’n Mot. Exclude Halpern”) 13, ECF No.
67; Reply Mem. Law Supp. Defs.’ Mot. Exclude Opinions of Pls.’
Expert Samuel Halpern (“Reply Mot. Exclude Halpern”) 8, ECF No.
78.
                                   [105]
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sufficiently identified alternatives, are questions of fact.”

Id. at 4.

     Boston College asserts that Brotherston requires a

“suitable” index to calculate loss.      Brotherston, 907 F.3d at 32

(“[T]he Restatement specifically identifies as an appropriate

comparator for loss calculation purposes return rates of one or

more . . . suitable index mutual funds or market indexes (with

such adjustments as may be appropriate).” (emphasis added)

(internal quotation marks omitted)).       After ruling the

plaintiffs’ experts’ loss calculations were not “inadequate as a

matter of law[,]” the Brotherston court further stated that it

was not saying the expert “necessarily picked suitable

benchmarks, or calculated the returns correctly, or focused on

the correct time period,” and while the defendants raised these

issues on appeal, “these are questions of fact.”        Id. at 33-34.51

Participants argue that forcing Halpern to pick suitable

alternatives violates principles in Brotherston.        In discussing

why defendants bear the burden as to loss causation (distinct

from loss), Brotherston states:




     51The court in Brotherston further rejected defendants’
arguments that plaintiffs failed to provide evidence to support
their expert’s selection of comparators and thus “challenge his
comparators as a matter of law” because “there is legal support
for the use of index funds and other benchmarks as comparators
for loss calculation purposes.” Brotherston, 907 F.3d at 34
n.14.
                                   [106]
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            An ERISA fiduciary often -- as in this case --
       has available many options from which to build a
       portfolio of investments available to beneficiaries.
       In such circumstances, it makes little sense to have
       the plaintiff hazard a guess as to what the fiduciary
       would have done had it not breached its duty in
       selecting investment vehicles, only to be told “guess
       again.” It makes much more sense for the fiduciary to
       say what it claims it would have done and for the
       plaintiff to then respond to that.

Id. at 38.   This reasoning in Brotherston, however, pertains to

loss causation, not loss.

       The Second Circuit in Cunningham recently stated that

plaintiffs, in proving loss for fees, must show that there was a

“‘prudent alternative’ to the allegedly imprudent fees paid” --

“[t]hat is, [p]laintiffs must provide evidence of a ‘suitable

benchmark[ ]’ against which loss could be measured.”

Cunningham, 86 F.4th at 982 (citing Brotherston, 907 F.3d at

34).    This Court agrees with Boston College, and the Second

Circuit’s interpretation of Brotherston, which requires the

Participants to show a “prudent alternative” or “suitable

benchmark” for which to compare the challenged investments

against for purposes of calculating loss.       To hold otherwise

would eliminate the Participant’s burden to show loss52 -- the



       While the Participants point out that the issue of
       52

whether there is a suitable benchmark was an issue of fact that
Brotherston left for the court to decide, Boston College can
still show that the Participants failed to identify a prudent
alternative. If the record evidence fails to show that a
reasonable factfinder could find that the Participants have
identified a “suitable” alternative, Boston College is entitled
                                   [107]
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Participants could pick any alternative fund to “show” loss.

See Evans, 534 F.3d at 74 (explaining that losses may be

“ascertained” “by comparing the performance of the imprudent

investments with the performance of a prudently invested

portfolio” (emphasis added)).     “[N]othing in Brotherston

supports that a loss may be shown by comparing alleged imprudent

investments to funds that cannot be said to be prudent.”

Wildman v. American Century Servs., LLC, 362 F. Supp. 3d 685

(W.D. Mo. 2019) (deciding that the experts’ comparator indexes

were “so dissimilar” to the “Plan’s philosophy and investment

strategy” that plaintiffs failed to show loss at trial).

     To survive summary judgment, the Participants need only

rebut Boston College’s showing, if any, that there is no genuine

dispute of material fact as to whether the Participants

identified a suitable or prudent alternative.       Boston College

points to Halpern’s testimony, in which he stated that he was



to summary judgment on the issue of loss. This Court agrees
with Boston College as to the scope of Brotherston’s holding:
that the district court erred in finding that a comparison of
the challenged investments to index funds could not show loss as
matter of law, where there was legal support for using index
funds as prudent comparators. See Supp. Opp’n Loss 3. This
does not mean that index funds will always be a “suitable
benchmark” in every case -- as this is a fact-intensive inquiry,
just as whether there was a breach of fiduciary duty to begin
with. While perhaps the fact that it is a fact-intensive
inquiry ought caution courts against finding alternatives
unsuitable as matter of law on summary judgment, this does not
mean that the Participants can escape showing, as part of their
loss burden, a prudent or suitable alternative.
                                   [108]
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not opining on the suitability of the alternatives to the

challenged investments and did not identify a “comparator” for

the purposes of calculating loss.53     Halpern did, however,

identify the CREF Index Fund as an alternative to the CREF Stock

Account.   See generally Ex. 15 (Halpern Report).       This Court

agrees with the Participants that Halpern’s failure to opine on

the CREF Index Fund’s suitability does not make the CREF Stock

Index unsuitable as matter of law.      Pls.’ Opp’n Defs.’ Mot.

Exclude Pls.’ Expert Samuel Halpern 15.

     Boston College cites case law suggesting that it may be

inappropriate to compare CREF Stock to domestic indices.54

Halpern has admitted that CREF Stock has a 30-35% international

mix, whereas the CREF Equity Index Fund is a purely domestic

investment.   Ex. 15 (Halpern Report) at 17.      Regardless, the

Court is not persuaded by these cases to hold -- as matter of


     53 Ex. 11 (Halpern Tr.) 128:16-25 (not calculating loss
because it “would require a comparator”); id. 153:23-155:8
(declining to opine on the “suitability” of the CREF Index Fund
and the TIAA Global Equity Fund, i.e., whether they were
“appropriate investment option[s] for the [P]lan”); see id.
(confirming that he did not conduct any “due diligence” on the
alternative investment options).
     54 In Sacerdote, the court found, after trial, that it was

inappropriate to compare the CREF Stock Account to funds that do
not “account for the foreign stock market’s performance or the
performance of the relevant segments of the U.S. and foreign
markets[.]” 328 F. Supp. 3d 273 at 315; see also Wilcox v.
Georgetown Univ., 2019 WL 132281, at *11 (D.D.C. Jan. 8, 2019)
(dismissing complaint because “domestic indices . . . are
comparators to only part of [the CREF Stock Account’s]
holdings”).
                                   [109]
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law -- that CREF Stock cannot be compared to domestic indexes,

especially because Brotherston stated that the use of index

funds as comparators has legal support and adequate comparators

are “questions of fact.”    Brotherston, 907 F.3d at 34; see also

Fuller v. SunTrust Banks, Inc., No. 1:11-CV-784-ODE, 2019 WL

5448206, at *28 (N.D. Ga. Oct. 3, 2019) (suggesting that

Brotherston indicated “the determination of the appropriateness

of the comparator funds used is a question for trial, not

summary judgment”).

     Moreover, as the Participants point out, the CREF Index

Fund was already offered in the Plan and thus Boston College had

arguably already found it to be a suitable alternative to the

CREF Stock Account.   Opp’n Mot. Exclude Halpern 13; Ex. 11

(Halpern Tr.) 154:3-24.    Further, the Participants explain that

the CREF Stock Account’s international stock is what caused the

loss to the Plans.    Opp’n Mot. Exclude Halpern 14; Ex. 15

(Halpern Report) at 18 (“illustrat[ing] the depressive impact of

international stock exposure on the CREF Stock Fund”).         Thus,

the Court is reluctant to require that the Participants set

forth a prudent alternative with the same -- or similar --

exposure to international stock as the sine qua non of

Participants’ survival on this aspect of summary judgment,

especially considering it is this exposure to foreign stock that

allegedly resulted in losses.     Moreover, Morningstar, a third-

                                   [110]
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party research investment firm which assigns ratings to funds,

compared the CREF Stock Account against a purely domestic index

–- which further suggests that the CREF Index Fund, a domestic

index, is an appropriate comparator for the CREF Stock Account.

CSOF ¶ 174.    Lastly, Boston College argues that the CREF Stock

Account is unique and hard to “pigeonhole into a single

category[.]”   Id. ¶¶ 148, 156.    Unique investments ought not be

insulated from duty-of-prudence claims simply because they are

unique.   See Opp’n 17.

     Thus, this Court holds that Boston College fails to show,

as matter of law, that the Participants failed to identify a

suitable alternative to the CREF Stock Account.

                 b.   Objective Prudence
     Objective prudence is established if it is more likely than

not that a hypothetically prudent fiduciary would, i.e.,

probably (rather than could, i.e., possibly) have made the same

decision.   Tatum, 761 F.3d at 365.     Boston College has a heavy

burden in disproving loss causation on summary judgment.         ERISA

is designed to benefit participants, not protect fiduciaries,

and therefore this burden shifting escape valve is, not

surprisingly, usually reserved for trial.




                                   [111]
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     Boston College’s expert Wermers provides evidence that

every year from 2015 to 2021,55 the vast majority (at least 49

out of 51) of the largest university and college ERISA

retirement plans with over $1,000,000,000 in assets under

management invested had significant assets56 in CREF Stock.         Ex.

13 (Wermers Report) ¶ 54, Exhibit 6.A.1, A.2.       Wermers’ chart

shows that 20 of the 51 largest college and university plan

sponsors “discontinued offering the investment or frozen it

against new investments” at some point over the Class Period.

Ex. 16 (Halpern Report) at 14; Ex. 13 (Wermers Report) ¶ 54,

Exhibit 6.A.1.   A reasonable factfinder could find that because

many other plan sponsors were freezing contributions to CREF

Stock, it was not objectively prudent for this Committee to

continue retaining CREF Stock.     Moreover, Smith did state that

“many” of Fiducient’s university and college clients opted to

freeze CREF annuities in favor of index funds, Ex. 103 at 22922;




     55 The Participants object on the ground that these data are
from 2016, Opp’n 18; however, the Participants ignore that the
data are only partially from 2016, as Boston College points out.
Reply 3. Wermers provides data up to year-end 2021 showing the
same trends. Ex. 13 (Wermers Report) ¶ 54, Exhibit 6.A.1, A.2.
     56 According to Wermers’ report, the average amount of

assets invested in CREF Stock across the top 52 universities is
as follows: 15.78% (year-end 2015), 15.01% (year-end 2016),
14.58% (year-end 2017), 12.62% (year-end 2018), 12.16% (year-end
2019), 12.17% (year-end 2020), and 11.54% (year-end 2021). Ex.
13 (Wermers Report), Exhibit 6.A.2.


                                   [112]
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however, as noted previously, the record is unclear as to which

annuities Smith was referring to.

        Boston College asserts that retaining the CREF Stock

Account was objectively prudent based on qualitative57 and

quantitative factors, providing evidence that a third-party

research investment firm -- Morningstar -- assigned CREF Stock a

4/5-star rating between 2018 and 2021, which indicates that the

fund is “above average.”        CSOF ¶ 174.    Fiducient’s placement of

CREF Stock on “Watch” for sustained underperformance, however,

casts some doubt as to its objective prudence.

        Boston College also argues that there is no evidence that

the Participants would have moved investments out of the CREF

Stock Account even had the Committee frozen contributions to

it.58        The Committee was unable to “map” (transfer or redirect)

assets in CREF Stock because the decision to transfer these




        The CREF Stock Account is an annuity that seeks long-term
        57

returns through investment income and capital appreciation. It
invests assets in four categories of common stocks; it “invests
in companies of any size and includes allocations to foreign
securities,” and its managers have 10-20 years of experience.
CSOF ¶¶ 135-37, 178. The Participants do not dispute these
attributes of the CREF Stock Account.
     58 The parties agree that issues as to the Participants’

investment behavior relate to loss causation. See Tr. Mot.
Hearing 11:16-22; Supp. Opp’n Loss 5. Indeed, courts have held
that, once an ERISA plaintiff established breach and loss, “the
risk of uncertainty as to the amount of the loss fails on the
[fiduciary].” Ramos, 461 F. Supp. 3d at 1067, aff'd, 1 F.4th at
769 (quoting Confederated Tribes of Warm Springs Reservation of
Ore. v. United States, 248 F.3d 1365, 1371 (Fed. Cir. 2001)).
                                       [113]
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assets was left to the individual participant -- the Committee

could only prevent new contributions to CREF Stock.          Mem. 18;

CSOF ¶¶ 20, 23.     Thus, even had Boston College frozen CREF

Stock, it is possible that the Participants would not have moved

their investments.     The Participants invested 20-25% of their

assets in the CREF Stock Account each year during the Class

Period, which –- as Boston College argues -- suggests that it

was a popular choice among the Participants.         CSOF ¶ 175; see

Ex. 15 (Halpern Report) at 15.       While it is possible that the

freezing of contributions would have signaled to the

Participants to move their investments, it is difficult to

ascertain whether the Participants would have moved their assets

had the Committee frozen contributions to CREF Stock.          Freezing

contributions and redirecting them could have prevented

additional losses, however, regardless of whether the

Participants would have moved out their existing investments.

      Boston College argues that the Participants fail to provide

evidence to rebut Boston College’s evidence showing that

“individual participants in plans that froze [CREF Stock] did

not move their assets to new investments.”         Supp. Opp’n Loss at

6.   Upon review of other university plans that froze these

investments, it is unclear to what extent participants kept

their assets in the CREF Stock Account, although the data does

show that participants in frozen or terminated funds did not

                                     [114]
   Case 1:22-cv-10912-WGY Document 107 Filed 04/11/24 Page 115 of 126



significantly reduce their investments in the CREF Stock

Account.59 See Ex. 13 (Wermers Report) ¶ 23, Exhibit 6.A.

Looking generally at all 20 plans that eventually froze or

terminated the CREF Stock Account at some time over the Class

Period, only two had their overall assets in CREF Stock

decrease.   Ex. 13 (Wermers Report), Exhibit 6.A.1.       The

percentage of total plan assets in the CREF Stock Account,

however, did decrease for 18 of them –- thus, it is plausible

that at least some participants were removing investments, even

if there is no evidence of mass relocation of investments away

from the CREF Stock Account.     Id. at Exhibit 6.A.2.

     Halpern does not opine on what Participants would have done

had the Committee frozen contributions to CREF Stock because

doing so would be, admittedly, “speculative.”       CSOF ¶ 198.

Despite this, Halpern observes that the Participants “tended to


     59Yale University froze its contributions to the CREF Stock
Account in 2019, and its assets in the CREF Stock Account
increased from $676,500,000 (year-end 2018) to $934,100,000
(2021). Ex. 13 (Wermers Report), Exhibit 6.A.1 n.12. The
percentage of Yale participants’ assets in the CREF Stock
Account, however, declined: 12.01% in year-end 2018 to 10.99% in
2021. Id. at Exhibit 6.A.2. Vanderbilt University, after
freezing the CREF Stock Account in 2015, increased from
$312,700,000 in 2015 to $358,800,000 in 2021. Id. at Exhibit
6.A.1 n.13. The percentage of assets in the CREF Stock Account,
however, declined: 9.48% in 2015 and 5.68% in 2021. Id. at
Exhibit 6.A.2 n.13. Finally, the University of Rochester froze
the CREF Stock Account in 2017, with assets decreasing from
$437,300,000 in year-end 2017 to $377,000,000 in 2021. Id. at
Exhibit 6.A.1 n.4.


                                   [115]
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invest far less in international stocks than in domestic

stocks[,]” Ex. 11 (Halpern Tr.) 126:18-127:5,60 which the

Participants cite as evidence that they, after the Committee

froze contributions to CREF Stock, would have moved their assets

from the CREF Stock Account (which has a 65%/35% domestic to

foreign equity mix) to investments with an even heavier domestic

equity mix.   Opp’n Mot. Exclude Halpern 16.      Boston College

points out a deficiency in Halpern’s observation: Halpern

completely “set aside participants’ choice to invest in the CREF

Stock Account” –- in other words, Halpern did not at all

consider the percentage of Participants that invested in the

CREF Stock Account in making these observations about the

Participants’ preference for domestic equity.       Reply Mot.

Exclude Halpern 10; Ex. 15 (Halpern Report) at 18 n.55.         The

CREF Stock Account was included as a “domestic equity” fund in


     60In his report, Halpern states that the Participants tend
to invest more in domestic than foreign stock, citing evidence
from September 2022 showing:

          [P]articipants in Plan I invested 32.5% of their
     assets in domestic equity and only 7.3% in
     international equity. Relative to all equity
     investments by those participants, that meant nearly
     82% domestic exposure, versus CREF Stock Fund’s
     domestic exposure as low as 65%. At that same date,
     participants in Plan II invested 43.9% in domestic
     equity and only 4.2% internationally. That’s over 92%
     in domestic stocks and only 8% international.

Ex. 15 (Halpern Report) at 18 n.55 (referencing Ex. 88 (Q3
2022 QIR, BC-SELLERS022361 at 2388-2389), ECF No. 63-48).
                                   [116]
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the calculations Halpern relies upon to make these observations.

Ex. 88 at 2388-2389; supra note 60.      While this certainly

diminishes the credibility of Halpern’s observation, the Court

cannot make credibility determinations on a motion for summary

judgment.   Reeves, 530 U.S. at 150.

     In arguing that the Participants provide no evidence to

rebut Boston College’s evidence on loss causation, Boston

College cites Tussey, in which the Eighth Circuit deemed the

district court’s damages award overly speculative because there

was no evidence in the record as to how participants would have

invested their funds, and the district court ignored evidence

about both participant choice and the popularity of investment

funds.   Tussey v. ABB, Inc., 746 F.3d 327, 339 (8th Cir. 2014).

The Participants distinguish Tussey by stating that Halpern did

in fact opine, as discussed above, that “[P]articipants likely

would have reduced their exposure to international stocks if the

Stock Fund were removed.”    Opp’n Mot. Exclude Halpern 16.

     Boston College cites compelling evidence that the CREF

Stock Account was objectively prudent; however, Boston College

still fails to meet its heavy burden of showing objective

prudence on summary judgment, considering many fiduciaries were

freezing or terminating contributions to the CREF Stock Account

and Halpern’s observations that the Participants showed a



                                   [117]
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preference for domestic equity.     Thus, Boston College fails to

show as matter of law objective prudence as to CREF Stock.

     G.     This Court GRANTS Summary Judgment on Whether the
            Trustees Prudently Monitored Their Fiduciaries.

     This Court GRANTS Boston College’s motion for summary

judgment on Count II’s failure to monitor other fiduciaries.

     ERISA Sections 409 and 502 require monitoring fiduciaries

to ensure that fiduciaries are complying with their ERISA

obligations.   29 U.S.C. § 1109(a); 29 U.S.C. §§ 1132(a)(2),

1132(a)(3).    These obligations include those related to making

prudent investment decisions, monitoring those providing

services to the Plans, and ensuring that their actions are

compliant with Plan documents.     29 U.S.C. § 1109(a); 29 U.S.C.

§§ 1132(a)(2), 1132(a)(3).    If the monitored fiduciaries breach

any obligations, the monitoring fiduciaries must promptly act to

protect participants, the plans, and beneficiaries to those

plans.    See Compl. ¶ 131.

     Boston College argues that Count II fails on summary

judgment “because (1) the underlying claims as to the Committee

fail; and (2) Plaintiffs adduced no evidence rebutting the

record evidence showing that the Board of Trustees regularly

monitored the Committee, including through annual meetings.”

Mem. 20.   The Committee prepared annual reports and presented

these reports to the Board of Trustees.      CSOF ¶ 79.    These


                                   [118]
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reports contained checklists, confirming that the Committee met

regularly and performed a list of tasks related to monitoring.

Id. ¶¶ 79-81 (describing items on check list).       The Committee

also reported that it conducted a 2018 RFP.       Id. ¶ 81.

     The Participants argue that this Court ought deny Boston

College’s motion for summary judgment as to these claims because

(1) Boston College fails on the underlying prudence claim and

(2) ”Trustees were kept apprised at every step about what the

Committee and Fiducient were doing and not doing, likely

including their efforts to create an incomplete, misleading

record.”   Opp’n 20.   The Participants do not cite to any case or

evidence suggesting that this monitoring was deficient, and

their allegations that the Trustees were kept apprised of the

Committee’s actions to create an incomplete record is without

any record support.    Thus, even though the underlying duty of

prudence claim survives summary judgment, this Court GRANTS

summary judgment to Trustees on the duty to monitor claim.         See

Shirk v. Fifth Third Bancorp, 2009 WL 692124, at *20 (S.D. Ohio

Jan. 29, 2009) (granting summary judgment on duty to monitor

claim where “Plaintiffs fail[ed] to submit evidence that [the]

monitoring was deficient”); Hunter v. Shield, 550 F. Supp. 3d

500, 525 (S.D. Ohio 2021), aff'd, No. 21-3748, 2022 WL 2952583

(6th Cir. July 26, 2022) (stating that speculation, unsupported



                                   [119]
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by evidence in the record, cannot defeat a motion for summary

judgment).

III. CONCLUSION

       This Court DENIES Boston College’s motion for summary

judgment as it relates to the Recordkeeping Fees Claim.            This

Court also DENIES Boston College’s motion for summary judgment

on the Challenged Investment Claim.         This Court GRANTS Boston

College’s summary judgment motion on the claims that it violated

the Plans’ documents and that it failed prudently to monitor its

fiduciaries.

IV.    EPILOGUE – A BRIEF REFLECTION ON SUMMARY JUDGMENT

       In some cases, a motion for summary judgment under Rule 56

of the Federal Rules of Civil Procedure may be a powerful tool

for the “determination” of a civil action pursuant to Rule 1.61

This case is not one of them.        Consider this comparison:

       In March 2023, the United States commenced a jury waived

antitrust civil action -- as complex as this jury-waived, civil

action under ERISA -- seeking to enjoin the merger of Jet Blue

and Spirit Airlines.      United States v. JetBlue Airways Corp.,



       The magnificent 1938 original version of the Federal
       61

Rules of Civil Procedure came on the scene when trials were in
their heyday. See Nora Freeman Engstrom, The Diminished Trial,
86 Fordham L. Rev. 2131, 2131 (2018) (stating that trials
resolved close to 20% of federal civil cases in 1938, 4.3% in
1990, 2.2% in 2000, and close to 1% in 2016). Trials having now
fallen into desuetude in the wake of “managerial judging,” more
pallid “determinations” are the norm.
                                      [120]
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No. CV 23-10511-WGY, ECF No. 1 (complaint filed Mar. 7, 2023).

The parties eschewed summary judgment and drove straight to

trial.    Ten months after the case was filed, the Court entered a

113-page opinion and an appealable judgment that “determined”

that case.   Here, in contrast, over twenty-one months after this

case was filed, the Court enters its 126-page memorandum and

order that, while slightly trimming the case, now must be tried

in full in order for an appealable “determination” to be

reached.

     In short, this entire summary judgment exercise has been a

monumental waste of time.    And no one ought be surprised.62

Here, where there are qualified experts on both sides and

granting summary judgment to a party who bears the burden of




     62Perhaps, if it’s so obvious, the fault is mine. One
district judge –- the Honorable Davis Folsom in the Eastern
District of Texas -- required parties to request judicial
permission before filing a motion for summary judgment. Hon.
Diane P. Wood, Summary Judgment and the Law of Unintended
Consequences, 36 Okla. City U. L. Rev. 231, 250 n.60 (2011).
I’ve never favored such a rule, fearing that it could be misused
as a means of docket control to satisfy the requirement of the
Civil Justice Reform Act. See Miguel F. P. de Figueiredo,
Alexandra D. Lahav, & Peter Siegelman, The Six-Month List and
the Unintended Consequences of Judicial Accountability, 105
Cornell L. Rev. 363 (2020) (explaining how the Civil Justice
Reform Act has incentivized judges to act more quickly and may
be causing judicial errors). But see Wood, supra note 62, at
244, 250 (suggesting judges require parties to ask permission
before filing summary judgment motions so cases that “could just
as efficiently or even more efficiently be brought to trial”
could go straight to trial).
                                   [121]
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proof63 is well-nigh impossible, see Atlantic Specialty Ins. Co.,

480 F. Supp. 3d at 329 (explaining that a party must produce

“incontrovertible [] evidence” when it moves on an issue it has

the burden of proof on (citing Reeves, 530 U.S. 133 at 151)),

counsel should understand that a summary judgment motion

displays what one of my colleagues calls “an instinct for the

capillaries” -- a money waster -- not the true trial lawyer’s

“instinct for the jugular.”

     Summary judgment is not fact finding –- it is most closely

akin to a declaratory judgment and is, of course, properly

subject to de novo review.    Hardy v. Loon Mountain Recreation

Corp., 276 F.3d 18, 20 (1st Cir. 2002) (reviewing a grant of

summary judgment de novo).    In the summary judgment analysis,

the trial judge must lean against the movant and draw all

reasonable inferences against that party.       Fact finding is

entirely different and requires an utterly distinct mind set.

It is fact finding that requires the utmost fairness and

impartiality:


     63The Court is here referring to granting summary judgment
in favor of Boston College on loss causation (objective
prudence). As per Brotherston, the Participants have the burden
in showing breach and loss. 907 F.3d at 39. Although this
Court recognizes that Boston College has set forth strong
evidence tending to disprove causation, Boston College faces a
high hurdle in winning on summary judgment on an element in
which it has the burden of proof, as this Court must take all
reasonable inferences in favor of the Participants. Reeves, 530
U.S. 133 at 150-51.
                                   [122]
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          [F]act-finding is difficult. Exacting and time
     consuming, it inevitably falls short of absolute
     certainty. More than any society in history, the
     United States entrusts fact-finding to the collective
     wisdom of the community. Our insistence on procedural
     safeguards, application of evidence rules, and our
     willingness to innovate are all designed to enhance
     impartial fact-finding.

          Judicial fact-finding is equally rigorous.
     Necessarily detailed, judicial fact-finding must draw
     logical inferences from the record, and, after lucidly
     presenting the subsidiary facts, must apply the legal
     framework in a transparent written or oral analysis
     that leads to a relevant conclusion. Such fact-
     finding is among the most difficult of judicial tasks.
     It is tedious and demanding, requiring the entirety of
     the judge’s attention, all her powers of observation,
     organization, and recall, and every ounce of analytic
     common sense he possesses. Moreover, fact-finding is
     the one judicial duty that may never be delegated to
     law clerks or court staff. Indeed, unlike legal
     analysis, many judges will not even discuss fact-
     finding with staff, lest the resulting conclusions
     morph into judgment by committee rather than the
     personal judgment of the duly constituted judicial
     officer.
Hon. William G. Young, A Lament for What Was Once and Yet Can

Be, 32 B.C. Int'l & Comp. L. Rev. 305, 312-13 (2009).        The path

to fact finding leads through trial.       See In re One Star Class

Sloop Sailboat Built in 1930 with Hull No. 721, Named "Flash

II", 517 F. Supp. 2d 546, 556 (D. Mass. 2007) (“As is always the

case, issues yield readily to fact finding.”), aff'd sub nom.

United States v. One Star Class Sloop Sailboat built in 1930

with hull no. 721, named "Flash II", 546 F.3d 26 (1st Cir.

2008).




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     It’s useless, of course, to rail against the overuse of

summary judgment, though every summary judgment motion denied

exacts a toll on the entire district court caseload and

contributes to the endemic delay and excessive cost of federal

civil litigation.   Lawyers resort to summary judgment for the

best of all possible reasons.     It works.   Over three times as

many federal civil actions are “determined” by summary judgment

as are resolved by trial.    See Robert P. Burns, What Will We

Lose If the Trial Vanishes?, 37 Ohio N.U. L. Rev. 575, 577

(2011); see also Table C-4A, U.S. District Courts – Civil Cases

Terminated, by District and Action Taken, During the 12-Month

Period Ending in September 30, 2022, United States Courts

(2022),

https://www.uscourts.gov/sites/default/files/data_tables/jb_c4a_

0930.2022.pdf (data showing that close to 8.5% of civil cases in

2022 were disposed of by motion before trial, including summary

judgment, and close to 0.5% of cases are resolved by trial);

Judiciary Data and Analysis Office, Civil Statistical Reporting

Guide 26-27 (3d ed. 2023) (on file with the Administrative

Office of the United States Courts) (providing disposition codes

for data); D. Brock Hornby, The Business of the U.S. District

Courts, 10 Green Bag 2d 453, 454, 468 (2007) (explaining that

while trials have been declining markedly, filings have not, and

a federal judge’s primary role is no longer “umpiring trials”).

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     Here, however, is a case that would have benefitted

everyone from a direct march to trial.      The Court will hold a

status conference to set a prompt trial date.

     Ultimately, of course, I am responsible for the

mismanagement of this case and the added costs and delay such

management has imposed on these litigants.       I have puzzled how

to do better.   Restrictions on the filing of summary judgment

motions are not the answer.

     Rather, it seems better simply to prioritize trial as the

more apt means of dispute resolution.       Already, I usually

require that summary judgment motions be filed three months

before the expected trial date.64     In the future, I shall make

plain that filing a motion for summary judgment does not suspend

the trial date or the time of filing a joint pre-trial

memorandum (one month earlier).     While I shall continue to make

every effort to resolve all or part of any such motion, if the

motion remains unresolved by the time of the final pre-trial

conference, notwithstanding the precatory language of Rule 56 of

the Federal Rules of Civil Procedure, I shall simply deny it.65


     64 The month when trial will be held is established in this
Session at the initial case management scheduling conference
held pursuant to Local Rule 16.1 (D. Mass). Usually, that’s no
more than 13 months after that conference. This Court strongly
disfavors any continuance of that date.
     65 This approach has the further beneficent effect of

rewarding the earlier filing of summary judgment motions and
speeding up discovery –- litigation’s greatest cost driver.
                                    [125]
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Fed. R. Civ. P. 56(a) (“The court should state on the record the

reasons for granting or denying the motion.”).       After all, “the

fact that summary judgment denials are not appealable makes it

far easier to draft very brief opinions denying summary judgment

–- or even simply to deny summary judgment on the oral record

without any written opinion.”     Jonathan Remy Nash & D. Daniel

Sokol, The Summary Judgment Revolution That Wasn’t, 65 Wm. &

Mary L. Rev. 389, 432 (2023).     A full trial will follow

promptly.

     SO ORDERED.

                                           /s/ William G. Young
                                              WILLIAM G. YOUNG
                                                    JUDGE
                                                   of the
                                               UNITED STATES66




     66This is how my predecessor, Peleg Sprague (D. Mass. 1841-
1865), would sign official documents. Now that I’m a Senior
District Judge I adopt this format in honor of all the judicial
colleagues, state and federal, with whom I have had the
privilege to serve over the past 46 years.
                                   [126]
